      Case: 23-10836    Document: 64      Page: 1   Date Filed: 10/12/2023


                  Nos. 23-10008, 23-10536, and 23-10836

                                    In the
                United States Court of Appeals
                           for the Fifth Circuit
                           CHARLENE CARTER,
                                       Plaintiff-Appellee/Cross-Appellant,
                                     v.
          LOCAL 556, TRANSPORT WORKERS UNION OF AMERICA;
                       SOUTHWEST AIRLINES CO.,
                                  Defendants-Appellants/Cross-Appellees.

                           CHARLENE CARTER,
                                                               Plaintiff-Appellee,
                                     v.
                        SOUTHWEST AIRLINES CO.,
                                                           Defendant-Appellant.

         On Appeal from the United States District Court for the
          Northern District of Texas, Case No. 3:17-cv-02278-X,
            Hon. Brantley Starr, United States District Judge

       SOUTHWEST AIRLINES COMPANY’S OPENING BRIEF

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           Case: 23-10836   Document: 64   Page: 2   Date Filed: 10/12/2023




                  CERTIFICATE OF INTERESTED PERSONS

      Nos. 23-10008 & 23-10536, Charlene Carter v. Local 556, Transport
             Workers Union of America; Southwest Airlines Co.

             No. 23-10836, Charlene Carter v. Southwest Airlines Co.

I.     Appellant Southwest Airlines Co.

       Southwest Airlines Co. is a publicly traded entity and is traded on the

NYSE (LUV). The Vanguard Group has filed a Form 13G with the Securities

and Exchange Commission stating that it beneficially owns more than 10%

of the shares of Southwest Airlines Co. Southwest has no parent corporation,

no other entity has reported holdings of over 10%, and there is not any other

entity related to, or affiliated with Southwest that has a financial interest in

the outcome of the claims asserted against it in this case.

II.    Interested parties

       A.      Opposing counsel

       Opposing counsel in the litigation are:

       •       Matthew B. Gilliam, National Right to Work Legal Defense
               Foundation

       •       Milton L. Chappell, National Right to Work Legal Defense Foun-
               dation

       •       Bobby G. Pryor, Pryor & Bruce

       •       Matthew D. Hill, Pryor & Bruce


                                       -i-
          Case: 23-10836   Document: 64    Page: 3   Date Filed: 10/12/2023




      •       David E. Watkins, Jenkins & Watkins, PC

      B.      Other interested parties

      Additional firms and persons with an interest in the outcome of the

litigation are:

      •       Cloutman & Cloutman, L.L.P.

      •       Law Offices of Cloutman and Greenfield, PLLC

      •       Kerrie Forbes, Southwest Airlines

      •       Chris Maberry, Southwest Airlines

      •       Kevin Minchey, Southwest Airlines

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      •       Reed Smith LLP

      •       Ryan Law Partners LLP

      •       Sheppard Mullin Richter & Hampton LLP

      •       Skadden, Arps, Slate, Meagher & Flom LLP




                                      - ii -
       Case: 23-10836     Document: 64    Page: 4   Date Filed: 10/12/2023




                   REQUEST FOR ORAL ARGUMENT

      Southwest Airlines Co. requests oral argument. The district court’s

judgment against Southwest turns Title VII of the Civil Rights Act of 1964

into a shield immunizing hostile and abusive workplace behavior. The judg-

ment conflates religious-belief-based discrimination and religious-practice-

based discrimination, and it rests on legally insufficient evidence and flawed

jury instructions. Moreover, the Supreme Court’s recent decision in Groff v.

DeJoy, 143 S. Ct. 2279 (2023), changed the standard governing Southwest’s

undue-hardship defense against religious-practice discrimination. The dis-

trict court’s rulings also exceed the outer bounds of the Railway Labor Act.

To top it all off, the district court issued an extraordinary, unprecedented

contempt order requiring three in-house Southwest attorneys to attend “re-

ligious-liberty training” with the Alliance Defending Freedom. Oral

argument is likely to assist the Court in deciding this novel appeal. See, e.g.,

Brotherhood of Locomotive Engineers v. Union Pacific Railroad, 31 F.4th 337 (5th

Cir. 2022) (argument in RLA case); Nobach v. Woodland Village Nursing Center,

Inc., 799 F.3d 374 (5th Cir. 2015) (argument in Title VII case).




                                     - iii -
           Case: 23-10836              Document: 64              Page: 5          Date Filed: 10/12/2023




                                         TABLE OF CONTENTS

                                                                                                                         Page

CERTIFICATE OF INTERESTED PERSONS .......................................................i

REQUEST FOR ORAL ARGUMENT ................................................................. iii

TABLE OF AUTHORITIES ................................................................................ viii

JURISDICTIONAL STATEMENT ........................................................................ 1

STATEMENT OF ISSUES ...................................................................................... 2

INTRODUCTION ................................................................................................... 4

STATEMENT OF THE CASE ................................................................................ 9

I.      Factual background ...................................................................................... 9

        A.       Carter sends fellow flight attendant Audrey Stone hostile
                 and graphic direct messages on Facebook. .................................... 9

        B.       Carter posts graphic videos on her public Facebook
                 account, which identified her as a Southwest employee. .......... 11

        C.       Southwest investigates Carter’s behavior and fires her for
                 it. .......................................................................................................... 11

        D.       Carter, represented by Local 556, grieves her termination,
                 and the arbitrator sides with Southwest. ...................................... 14

II.     Procedural background ............................................................................. 15

        A.       Carter sues Southwest and Local 556, and the district
                 court denies Southwest’s motion to dismiss and motion
                 for summary judgment. ................................................................... 15

        B.       A jury rules for Carter...................................................................... 18

        C.       The district court denies Southwest’s Rule 50(b) motion........... 23



                                                           - iv -
           Case: 23-10836             Document: 64            Page: 6        Date Filed: 10/12/2023




                                       TABLE OF CONTENTS
                                           (continued)
                                                                                                                 Page

         D.       The district court holds Southwest in contempt and this
                  Court stays that order. ..................................................................... 25

SUMMARY OF ARGUMENT ............................................................................. 28

STANDARD OF REVIEW ................................................................................... 36

ARGUMENT .......................................................................................................... 37

I.       Carter failed to prove religious-belief-based discrimination as a
         matter of law, and the erroneous undue-hardship instruction
         requires a new trial on religious-practice-based discrimination. ........ 37

         A.       Title VII prohibits discrimination against an employee
                  because of her religious belief or practice..................................... 39

                  1.       Religious belief and religious practice are
                           definitionally distinct, and an employee cannot
                           simply recast practice-based discrimination as
                           belief-based discrimination. ................................................. 39

                  2.       An employee claiming discrimination must
                           introduce direct evidence, or satisfy the test under
                           McDonnell Douglas for claims based on indirect
                           evidence. .................................................................................. 41

                  3.       An employer defeats a religious-practice-based
                           discrimination claim (also known as a failure-to-
                           accommodate claim) by showing that
                           accommodating the employee’s religious practice
                           would impose an undue hardship on the
                           employer’s business. .............................................................. 44

         B.       Carter’s religious-belief-based discrimination claim fails
                  as a matter of law because she introduced no evidence
                  that Southwest fired her because of her religious belief. ........... 48


                                                         -v-
       Case: 23-10836           Document: 64             Page: 7        Date Filed: 10/12/2023




                                  TABLE OF CONTENTS
                                      (continued)
                                                                                                             Page

            1.       Carter didn’t introduce direct evidence of belief-
                     based discrimination. ............................................................ 49

            2.       Indirect evidence cannot sustain the jury verdict,
                     either, because Carter waived a pretext theory and
                     introduced legally insufficient evidence of pretext
                     anyway..................................................................................... 50

      C.    A new trial is required on Carter’s religious-practice-
            based discrimination claim. ............................................................ 53

            1.       Southwest tried the case under controlling
                     precedent making clear that the mere possibility of
                     adverse effects on employee morale is undue
                     hardship, and the district court erred in failing to
                     instruct the jury on that rule. ................................................ 54

            2.       Groff’s new test requires a new trial. ................................... 57

II.   The verdict on Carter’s RLA claim must be reversed because
      Carter produced no evidence that Southwest acted with anti-
      union animus, and she did not engage in protected activity. .............. 59

      A.    Carter’s RLA claim fails as a matter of law because Carter
            produced no evidence that Southwest fired her with anti-
            union animus. ................................................................................... 60

            1.       RLA § 152 Third and Fourth provide a very narrow
                     cause of action for post-certification plaintiffs
                     alleging anti-union animus................................................... 60

            2.       Carter introduced no evidence of anti-union animus
                     or any other evidence of intent to interfere with the
                     union. ....................................................................................... 64




                                                   - vi -
           Case: 23-10836            Document: 64             Page: 8        Date Filed: 10/12/2023




                                       TABLE OF CONTENTS
                                           (continued)
                                                                                                                  Page

        B.       Even if Carter properly reached the jury, a new trial
                 would be required because the district court erroneously
                 instructed the jury that the RLA protects obscene and
                 abusive activity. ................................................................................ 67

                 1.       The RLA does not protect obscene and abusive
                          activity...................................................................................... 67

                 2.       The district court’s protected activity instruction
                          was legally wrong and prejudiced Southwest. ................. 69

III.    The Contempt Order rests on an invalid judgment, exceeds the
        district court’s authority, and violates the First Amendment.............. 71

        A.       The Contempt Order must be vacated because the verdict
                 and judgment are invalid. ............................................................... 71

        B.       The Contempt Order is invalid even if the Court affirms
                 the underlying judgment. ............................................................... 71

                 1.       The Contempt Order is invalid because Southwest
                          substantially complied with the judgment. ....................... 72

                 2.       The district court exceeded its civil-contempt power
                          by ordering religious-liberty training. ................................ 73

                 3.       The contempt order violates Southwest’s First
                          Amendment rights. ................................................................ 76

CONCLUSION ...................................................................................................... 79

CERTIFICATE OF COMPLIANCE .................................................................... 80

CERTIFICATE OF SERVICE ............................................................................... 81




                                                       - vii -
           Case: 23-10836             Document: 64           Page: 9       Date Filed: 10/12/2023




                                    TABLE OF AUTHORITIES

                                                                                                          Page(s)
CASES
Alkhawaldeh v. Dow Chemical Co.,
  851 F.3d 422 (5th Cir. 2017) ............................................... 29, 37, 38, 43, 44, 53
American Airlines, Inc. v. Allied Pilots Ass’n,
 228 F.3d 574 (5th Cir. 2000) ..............................................................................73
Atlantic Steel Co.,
  245 NLRB 814 (1979) ............................................................................ 68, 69, 70
Baddock v. Villard (In re Baum),
  606 F.2d 592 (5th Cir. 1979) ..............................................................................71
Baisden v. I’m Ready Products, Inc.,
  693 F.3d 491 (5th Cir. 2012) ..............................................................................36
Bantam Books, Inc. v. Sullivan,
  372 U.S. 58 (1963) ...............................................................................................76
Beckington v. American Airlines, Inc.,
  926 F.3d 595 (9th Cir. 2019) ....................................................................... 64, 65
Biziko v. Van Horne,
  981 F.3d 418 (5th Cir. 2020) ..............................................................................51
Boylan v. Detrio,
  187 F.2d 375 (5th Cir. 1951) ..............................................................................73
Brener v. Diagnostic Center Hospital,
  671 F.2d 141 (5th Cir. 1982) ....................................................................... 44, 56
Brotherhood of Locomotive Engineers v. Kansas City Southern Railway,
  26 F.3d 787 (8th Cir. 1994) ................................................................................63
Brotherhood of Locomotive Engineers v. Union Pacific Railroad,
  31 F.4th 337 (5th Cir. 2022) .................................................................. 60, 61, 65
Brotherhood of Railroad Trainmen v. Jacksonville Terminal Co.,
  394 U.S. 369 (1969) ...................................................................................... 67, 68
Clark v. Champion National Security, Inc.,
  952 F.3d 570 (5th Cir. 2020) ....................................................................... 37, 42


                                                      - viii -
          Case: 23-10836             Document: 64          Page: 10         Date Filed: 10/12/2023




                                    TABLE OF AUTHORITIES
                                          (continued)
                                                                                                         Page(s)

Cliett v. Hammonds,
  305 F.2d 565 (5th Cir. 1962) ..............................................................................71
Dediol v. Best Chevrolet, Inc.,
  655 F.3d 435 (5th Cir. 2011) ....................................................................... 30, 47
Deffenbaugh-Williams v. Wal-Mart Stores, Inc.,
  188 F.3d 278 (5th Cir. 1999) ..................................................... 32, 33, 57, 58, 59
Dixon v. The Hallmark Companies, Inc.,
  627 F.3d 849 (11th Cir. 2010) ............................................................... 29, 40, 41
Equal Employment Opportunity Commission
  v. Abercrombie & Fitch Stores, Inc.,
  575 U.S. 768 (2015) .............................................................................................40
Evance v. Trumann Health Services, LLC,
  719 F.3d 673 (8th Cir. 2013) ..............................................................................42
Eversley v. Mbank Dallas,
  843 F.2d 172 (5th Cir. 1988) ....................................................................... 44, 45
Federal Communications Commission v. Fox Television Stations, Inc.,
  567 U.S. 239 (2012) .............................................................................................78
First National Bank of Boston v. Bellotti,
  435 U.S. 765 (1978) .............................................................................................77
Gentile v. State Bar of Nevada,
  501 U.S. 1030 (1991) ...........................................................................................78
Geraci v. Moody-Tottrup, International, Inc.,
  82 F.3d 578 (3d Cir. 1996) .......................................................................... 37, 42
Goodyear Tire & Rubber Co. v. Haeger,
  581 U.S. 101 (2017) .............................................................................................74
Groff v. DeJoy,
  143 S. Ct. 2279 (2023) ................................................... 2, 3, 7, 28, 30, 32, 38, 45,
  ................................................................................... 46, 47, 48, 53, 57, 58, 59, 77



                                                       - ix -
          Case: 23-10836             Document: 64           Page: 11        Date Filed: 10/12/2023




                                    TABLE OF AUTHORITIES
                                          (continued)
                                                                                                          Page(s)

Harper v. Virginia Department of Taxation,
  509 U.S. 86 (1993) ...............................................................................................57
Harris v. Public Health Trust of Miami-Dade County,
  No. 21-11016, 2023 WL 6451164
  (11th Cir. Oct. 4, 2023) ......................................................................................51
Hawaiian Airlines, Inc. v. Norris,
  512 U.S. 246 (1994) .............................................................................................61
Held v. American Airlines, Inc.,
  No. 06-cv-4240, 2007 WL 433107
  (N.D. Ill. Jan. 31, 2007) ......................................................................................66
Herster v. Board of Supervisors of Louisiana State University,
  887 F.3d 177 (5th Cir. 2018) ........................................................... 29, 41, 42, 50
Howard v. Haverty Furniture Cos.,
  615 F.2d 203 (5th Cir. 1980) ..................................................... 30, 32, 45, 47, 54
In re Murphy-Brown, LLC,
  907 F.3d 788 (4th Cir. 2018) ..............................................................................77
In re Oliver,
  333 U.S. 257 (1948) ...................................................................................... 74, 76
In re Stewart,
  571 F.2d 958 (5th Cir. 1978) ..............................................................................73
In re United States Bureau of Prisons,
  918 F.3d 431 (5th Cir. 2019) ..............................................................................73
International Brotherhood of Electrical Workers v. Foust,
  442 U.S. 42 (1979) ...............................................................................................64
International Brotherhood of Teamsters v. United Parcel Service, Co.,
  447 F.3d 491 (6th Cir. 2006) ..............................................................................63
Janvey v. Dillon Gage, Inc. of Dallas,
  856 F.3d 377 (5th Cir. 2017) ..............................................................................36



                                                        -x-
           Case: 23-10836             Document: 64           Page: 12         Date Filed: 10/12/2023




                                     TABLE OF AUTHORITIES
                                           (continued)
                                                                                                             Page(s)

Johnson v. Express One International, Inc.,
  944 F.2d 247 (5th Cir. 1991) ................................................................. 61, 62, 68
Jowers v. Lincoln Electric Co.,
  617 F.3d 346 (5th Cir. 2010) ..............................................................................36
Konop v. Hawaiian Airlines, Inc.,
  302 F.3d 868 (9th Cir. 2002) ..............................................................................67
Krystek v. University of Southern Mississippi,
  164 F.3d 251 (5th Cir. 1999) ..............................................................................48
Lee v. Kansas City Southern Railway,
  574 F.3d 253 (5th Cir. 2009) ....................................................................... 52, 53
Linn v. United Plant Guard Workers of America, Local 114,
  383 U.S. 53 (1966) ...............................................................................................69
Luster v. Illinois Department of Corrections,
  652 F.3d 726 (7th Cir. 2011) ..............................................................................42
Massaro v. Palladino,
 19 F.4th 197 (2d Cir. 2021) ................................................................................71
McCoy v. City of Shreveport,
 492 F.3d 551 (5th Cir. 2007) ..............................................................................43
McDonnell Douglas Corp. v. Green,
 411 U.S. 792 (1973) ....................................................................... 2, 6, 29, 31, 37,
 ..................................................................................................... 38, 41, 43, 50, 51
McMichael v. Transocean Offshore Deepwater Drilling, Inc.,
 934 F.3d 447 (5th Cir. 2019) ..............................................................................43
Minjares v. Independent Ass’n of Continental Pilots,
 293 F.3d 895 (5th Cir. 2002) ..............................................................................61
National Institute of Family & Life Advocates v. Becerra,
  138 S. Ct. 2361 (2018) .........................................................................................76
National Railroad Passenger Corp. v. Lamaw,
  915 F.2d 43 (1st Cir. 1990).................................................................... 61, 62, 63

                                                        - xi -
          Case: 23-10836             Document: 64          Page: 13         Date Filed: 10/12/2023




                                    TABLE OF AUTHORITIES
                                          (continued)
                                                                                                         Page(s)

Natural Gas Pipeline Co. of America v. Energy Gathering, Inc.,
  86 F.3d 464 (5th Cir. 1996) ................................................................................74
National Labor Relations Board v. City Disposal Systems Inc.,
  465 U.S. 822 (1984) .............................................................................................68
Nobach v. Woodland Village Nursing Center, Inc.,
  799 F.3d 374 (5th Cir. 2015) ....................................................................... 36, 41
Norman Bridge Drug Co. v. Banner,
  529 F.2d 822 (5th Cir. 1976) ..............................................................................73
Peterson v. Hewlett-Packard Co.,
  358 F.3d 599 (9th Cir. 2004) ........................................................... 30, 45, 46, 47
Portis v. First National Bank of New Albany,
  34 F.3d 325 (5th Cir. 1994) ......................................................................... 41, 42
Reef Industries v. National Labor Relations Board,
  952 F.2d 830 (5th Cir. 1991) ..............................................................................67
Renneisen v. American Airlines, Inc.,
  990 F.2d 918 (7th Cir. 1993) ................................................................. 16, 17, 64
Rightnour v. Tiffany & Co.,
  354 F. Supp. 3d 511 (S.D.N.Y. 2019)................................................................45
Ripoll v. Dobard,
  618 F. App’x 188 (5th Cir. 2015) ......................................................................51
Sandstad v. CB Richard Ellis, Inc.,
  309 F.3d 893 (5th Cir. 2002) ................................................................. 41, 42, 43
Shapolia v. Los Alamos National Laboratory,
  992 F.2d 1033 (10th Cir. 1993) ................................................................... 40, 41
Tagore v. United States,
  735 F.3d 324 (5th Cir. 2013) ..............................................................................39
Trans World Airlines, Inc. v. Independent Federation of Flight Attendants,
  489 U.S. 426 (1989) .............................................................. 34, 62, 65, 66, 68, 70


                                                      - xii -
           Case: 23-10836             Document: 64           Page: 14         Date Filed: 10/12/2023




                                     TABLE OF AUTHORITIES
                                           (continued)
                                                                                                             Page(s)

Trans World Airlines, Inc., v. Hardison,
  432 U.S. 63 (1977) ............................................................................ 25, 44, 45, 47
Trautman v. Time Warner Cable Texas, LLC,
  756 F. App’x 421 (5th Cir. 2018) ......................................................................51
United States v. CITGO Petroleum Corp.,
 801 F.3d 477 (5th Cir. 2015) ..............................................................................36
United States v. Rizzo,
 539 F.2d 458 (5th Cir. 1976) ..............................................................................74
United Transportation Union v. National Railroad Passenger Corp.,
 588 F.3d 805 (2d Cir. 2009) ...............................................................................63
University of Texas Southwestern Medical Center v. Nassar,
 570 U.S. 338 (2013) .............................................................................................40
Vaughn v. Woodforest Bank,
  665 F.3d 632 (5th Cir. 2011) ..................................................... 31, 32, 43, 51, 52
Weber v. Roadway Express, Inc.,
 199 F.3d 270 (5th Cir. 2000) .......................................................... 2, 5, 6, 19, 20,
 ............................................................................................... 29, 30, 32, 44, 47, 54
Whitfield v. Pennington,
 832 F.2d 909 (5th Cir. 1987) ..............................................................................71
Wightman v. Springfield Terminal Railway,
 100 F.3d 228 (1st Cir. 1996)...................................................... 33, 34, 59, 62, 65
Wilson v. U.S. West Communications,
 58 F.3d 1337 (8th Cir. 1995) ..............................................................................45
Wooley v. Maynard,
 430 U.S. 705 (1977) .............................................................................................76
CONSTITUTION AND STATUTES
U.S. Const. art. III ..................................................................................................76
U.S. Const. amend. I............................................................. 3, 9, 35, 70, 75, 76, 77


                                                       - xiii -
           Case: 23-10836             Document: 64           Page: 15         Date Filed: 10/12/2023




                                     TABLE OF AUTHORITIES
                                           (continued)
                                                                                                             Page(s)

28 U.S.C. § 1291........................................................................................................1
28 U.S.C. § 1331........................................................................................................1
National Labor Relations Act,
 29 U.S.C. § 151 et seq. ...................................................................... 67, 68, 69, 70
   29 U.S.C. § 157............................................................................................. 67, 68
Religious Freedom Restoration Act of 1993,
  42 U.S.C. § 2000bb et seq. ..................................................................................75
Title VII of the Civil Rights Act of 1964,
  42 U.S.C. § 2000e et seq. ........................................................... 1, 4, 5, 6, 7, 9, 15,
   ........................................................................................ 17, 18, 19, 20, 21, 23, 28,
   ............................................................................ 29, 30, 33, 35, 37, 38, 39, 42, 43,
   ........................................................... 44, 45, 46, 47, 48, 58, 59, 72, 75, 76, 78, 79
   42 U.S.C. § 2000e......................................................................................... 1, 2, 4
   42 U.S.C. § 2000e-2(a)....................................................................................2, 28
   42 U.S.C. § 2000e-2-(a)(1)..................................................................................39
   42 U.S.C. § 2000e(j) ........................................................... 2, 6, 28, 29, 39, 40, 44
Railway Labor Act,
  45 U.S.C. § 151 et seq. ..................................................... 1, 3, 4, 5, 7, 8, 9, 15, 16,
  .................................................................................. 17, 18, 20, 22, 23, 33, 34, 59,
  ....................................................................... 60, 61, 64, 65, 66, 67, 68, 69, 70, 79
   45 U.S.C. § 151 Sixth..........................................................................................63
   45 U.S.C. § 152............................................................................................. 64, 68
   45 U.S.C. § 152 Third................................................... 3, 7, 8, 15, 16, 17, 20, 21,
     ............................................................................... 24, 25, 33, 60, 61, 62, 64, 66
   45 U.S.C. § 152 Fourth ........................................... 3, 7, 8, 15, 16, 17, 20, 21, 24
     ......................................................................... 25, 33, 60, 61, 62, 64, 66, 67, 68
   49 Stat. 1189 (1936) (45 U.S.C. § 181) ..............................................................60



                                                       - xiv -
          Case: 23-10836             Document: 64            Page: 16         Date Filed: 10/12/2023




                                     TABLE OF AUTHORITIES
                                           (continued)
                                                                                                            Page(s)

RULES
Fed. R. Civ. P. 50(a)(1) ..........................................................................................36
Fed. R. Civ. P. 50(b) .................................................................................... 1, 23, 36
Fed. R. Civ. P. 50(d).................................................................................................1
Fed. R. Civ. P. 59(a) .................................................................................................1
Fed. R. Crim. P. 42 .................................................................................................74
OTHER AUTHORITIES
Caroline M. Corbin,
  The First Amendment Right Against Compelled Listening,
  89 B.U. L. Rev. 939 (2009) .................................................................................78
Douglas W. Hall et al.,
 The Railway Labor Act § 5-33
 (4th ed. 2016) ......................................................................................................63
Equal Employment Opportunity Commission,
  Compliance Manual (2021) ..............................................................................46
   Compliance Manual, § 12-IV(C)(6)(a) ............................................................46
   Compliance Manual, § 12-III(D) .....................................................................46
Groff v. DeJoy, No. 22-174 (U.S.), Docket,
  https://tinyurl.com/3n5snraj.........................................................................58




                                                        - xv -
       Case: 23-10836    Document: 64    Page: 17    Date Filed: 10/12/2023




                     JURISDICTIONAL STATEMENT

      The district court had jurisdiction under 28 U.S.C. § 1331 because

Plaintiff-Appellee/Cross-Appellant Charlene Carter claims violations of

federal law—Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.,

and the Railway Labor Act, 45 U.S.C. § 151 et seq.

      On December 5, 2022, the district court entered judgment implement-

ing   the   jury   verdict   against    Defendant-Appellant/Cross-Appellee

Southwest Airlines. ROA.23-10836.8953-8955. On January 2, 2023, Southwest

timely moved for judgment as a matter of law and a new trial under Federal

Rules of Civil Procedure 50(b) and 59(a). ROA.23-10836.9454-9455; see Fed.

R. Civ. P. 50(b), (d). On April 24, 2023, the district court denied the motion.

ROA.23-10836.10395-10416. On May 22, 2023, Southwest timely appealed.

ROA.23-10836.10602-10603.

      On August 7, 2023, the district court held Southwest in contempt and

ordered religious-liberty training. ROA.23-10836.10641-10669. On August 9,

2023, Southwest appealed. ROA.23-10836.10670-10671.

      This Court has jurisdiction to review both the judgment and contempt

order because they are final decisions under 28 U.S.C. § 1291.




                                       -1-
       Case: 23-10836    Document: 64    Page: 18   Date Filed: 10/12/2023




                         STATEMENT OF ISSUES

      1.    Whether Carter’s failure to introduce direct evidence of discrim-

ination, or comparator evidence necessary to show pretext under McDonnell

Douglas Corp. v. Green, 411 U.S. 792 (1973), requires judgment as a matter of

law for Southwest on her claim of religious-belief-based discrimination un-

der Title VII of the Civil Rights Act, 42 U.S.C. § 2000e-2(a).

      2.    Title VII doesn’t protect an employee’s religious practice if ac-

commodating that practice would impose an “undue hardship on the

conduct of the employer’s business.” Id. § 2000e(j). At the time of trial, this

Court’s precedent made clear that “[t]he mere possibility of an adverse im-

pact on co-workers” from accommodating a religious practice constituted

undue hardship, Weber v. Roadway Express, Inc., 199 F.3d 270, 274 (5th Cir.

2000), and no evidence of business costs was required. Southwest relied on

that standard to present its undue-hardship defense. But the district court

erred in instructing the jury that undue hardship required a showing of fi-

nancial harm. After the verdict and judgment, the Supreme Court

announced a new standard in Groff v. DeJoy, 143 S. Ct. 2279, 2295 (2023),

holding that the employer must show substantial business costs. The ques-

tion is whether the district court’s jury instructions were erroneous when


                                      -2-
       Case: 23-10836    Document: 64   Page: 19   Date Filed: 10/12/2023




given, and Groff’s change in law requires a new trial permitting Southwest

to present evidence to meet Groff’s new standard.

      3.    Whether Carter’s failure to show that Southwest acted with anti-

union animus in firing her requires judgment as a matter of law for South-

west on Carter’s Railway Labor Act claim under 49 U.S.C. § 152 Third and

Fourth, which protect from employer interference employees’ “right to or-

ganize and bargain collectively through representatives of their own

choosing.” 49 U.S.C. § 152 Fourth.

      4.    Whether the district court erred in instructing the jury that § 152

Third and Fourth protect all organizing activity, even if it is abusive.

      5.    Whether the district court exceeded its civil-contempt authority

by ordering religious-liberty training that would neither ensure compliance

with the judgment nor compensate Carter for any noncompliance.

      6.    Whether the district court violated Southwest’s and its in-house

attorneys’ First Amendment rights by sanctioning Southwest for expressing

its disagreement with the court’s orders and promising to superintend

Southwest’s speech in the future, and ordering Southwest’s in-house law-

yers to attend religious-liberty training with an ideological advocacy group.




                                     -3-
       Case: 23-10836    Document: 64    Page: 20    Date Filed: 10/12/2023




                              INTRODUCTION

      Southwest fired flight attendant Charlene Carter for sending her

coworker Audrey Stone hostile and graphic messages with videos and pic-

tures about abortion, and for posting those videos and pictures publicly on

Facebook while identifiable as a Southwest employee. “You truly are Des-

picable,” Carter wrote Stone, sending a photo of a bloody aborted fetus

linked to a graphic video. ROA.23-10836.14750. In another message with

bloody graphics, Carter accused her coworker of “supporting this Murder.”

ROA.23-10836.14749. Finding Carter’s messages “incredibly disturbing,”

Stone reported them to Southwest’s human resources department. ROA.23-

10836.14774. Southwest conducted an investigation, concluded that Carter’s

conduct violated its policies designed to ensure civility in the workplace, and

fired Carter. ROA.23-10836.15007.

      After an arbitrator sided with Southwest, Carter sued, claiming that

Southwest fired her because of her religious belief and practice, in violation

of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., and for

engaging in protected union activity, in violation of the Railway Labor Act

(RLA), 45 U.S.C. § 151 et seq. The district court, conflating practice and belief,

sent the belief-based claim to the jury even though Carter had no evidence


                                      -4-
       Case: 23-10836   Document: 64    Page: 21   Date Filed: 10/12/2023




that Southwest employees held animus toward pro-life Christians or that

Southwest treated similarly situated non-pro-life-Christians more favorably.

As to religious practice, the court erroneously refused to instruct the jury

that “[t]he mere possibility of an adverse impact on co-workers” from ac-

commodating a religious practice was an “undue hardship” putting that

practice beyond Title VII’s protections. Weber, 199 F.3d at 274. And the court

sent the RLA claim to the jury even though Carter had no evidence that

Southwest acted with anti-union animus in firing her. The jury found for

Carter, and the court imposed judgment.

      Southwest reinstated Carter and emailed all flight attendants the ver-

dict and judgment. But Carter moved to hold Southwest in contempt,

alleging that Southwest did not comply with the court’s judgment. Although

Southwest agreed to correct any mistake, ROA.23-10836.10536, the court

held Southwest in contempt, ordering three of its attorneys to attend “reli-

gious-liberty” training with the Alliance Defending Freedom (ADF),

ROA.23-10836.10667. This Court consolidated Southwest’s appeal of the

judgment and the contempt order, Doc. 20, and stayed the contempt sanction

until resolution of the consolidated cases, Doc. 57.

      The Court should now reverse.

                                     -5-
       Case: 23-10836    Document: 64   Page: 22   Date Filed: 10/12/2023




      1.    Carter’s Title VII belief-based discrimination claim fails as a mat-

ter of law. She introduced no direct evidence that Southwest fired her for her

belief (after all, Southwest did no such thing). So she had to show with cir-

cumstantial evidence that Southwest’s reliance on its neutral policies was

pretext under the framework from McDonnell Douglas. But Carter repeatedly

waived a pretext theory, insisting that Southwest’s reliance on its policies

was direct evidence. That’s wrong as a matter of basic Title VII and evidence

law, and the district court’s attempt to save her claim under McDonnell Doug-

las fails. Absent direct evidence, Carter had to show that Southwest treated

a comparator employee more favorably—that it didn’t fire an employee

without her protected religious belief who engaged in nearly identical con-

duct. She didn’t even try to make that showing, much less succeed.

      2.    Carter’s religious-practice-based discrimination claim cannot

stand, either. Title VII doesn’t protect an employee’s religious practice if ac-

commodating it would impose an “undue hardship on the conduct of the

employer’s business.” 42 U.S.C. § 2000e(j). At the time of trial, “[t]he mere

possibility of an adverse impact on co-workers” of accommodating a reli-

gious practice constituted undue hardship, and no evidence of business costs

was required. Weber, 199 F.3d at 274. But the district court, over Southwest’s

                                      -6-
       Case: 23-10836    Document: 64   Page: 23   Date Filed: 10/12/2023




repeated and strenuous objections, and despite overwhelming evidence of

the adverse effects of accommodating Carter’s conduct on employee morale,

told the jury it had to find “financial costs or disruption of the business.”

ROA.23-10836.13406-13407. That was error. Southwest didn’t present evi-

dence of costs to the business because this Court’s decisions disclaimed the

need for it to do so.

      Although the Supreme Court held after the verdict and judgment that

an employer asserting undue hardship must show substantial business

costs, Groff, 143 S. Ct. at 2295, that new standard still requires a new trial.

This Court requires a new trial when intervening precedent sets a new stand-

ard so that parties can present evidence relevant to that standard—exactly

as Southwest would do on remand. Southwest would (a) connect the harm

to employee morale of accommodating Carter’s practice of sending her

coworkers hostile and graphic messages to substantial costs to Southwest’s

business, and also (b) show that accommodating such conduct would risk

creating a hostile work environment for other employees—itself a Title VII

violation.

      3.     Carter’s RLA claim fails as a matter of law. Where there is al-

ready a certified union, an employee asserting a violation of 45 U.S.C. § 152

                                     -7-
       Case: 23-10836    Document: 64   Page: 24   Date Filed: 10/12/2023




Third and Fourth, like Carter, must show that her employer acted with anti-

union animus. After all, § 152 Third and Fourth, which protect employee or-

ganizing and collective bargaining, create a very narrow cause of action

permitting judicial intervention only when the RLA’s dispute-resolution

mechanisms cannot operate fairly. But Carter claims nothing more than an

internal dispute with Audrey Stone, a union official (and Southwest flight

attendant), about union dues. The RLA doesn’t police that dispute. Even if

it did, the district court erroneously instructed the jury that the RLA protects

“abusive” activity, when the caselaw says just the opposite.

      4.    The district court’s Contempt Order is invalid, too. For one thing,

it must fall along with the invalid judgment. For another, Southwest sub-

stantially complied with the judgment, and the Contempt Order exceeds the

district court’s civil-contempt authority. The court’s authority extended only

to ensuring compliance with the judgment and compensating Carter for any

noncompliance. The court thus had no authority to go beyond requiring

Southwest to issue a new verbatim statement correcting any misstatement

and pay Carter’s contempt-related attorneys’ fees—both of which Southwest

voluntarily agreed to do. By the same token, religious-liberty training is not

the least-restrictive way to achieve the permissible goals of civil contempt.

                                      -8-
       Case: 23-10836   Document: 64   Page: 25   Date Filed: 10/12/2023




Worse still, it violates the First Amendment because it punishes Southwest

and its in-house attorneys for protected speech disagreeing with the (inva-

lid) jury verdict and effectively gagging any future speech about the case.

     The Court should reverse the jury verdict and vacate the Contempt

Order and remand with instructions to enter judgment as a matter of law for

Southwest on Carter’s belief-based Title VII claim and RLA claim and pro-

ceed toward a new trial on Carter’s practice-based Title VII claim.

                        STATEMENT OF THE CASE

I.   Factual background

     A.    Carter sends fellow flight attendant Audrey Stone hostile and
           graphic direct messages on Facebook.

     In January 2017, Carter, a Southwest flight attendant, learned that

some members of Transport Workers Union Local 556, the exclusive bar-

gaining representative for Southwest flight attendants, attended the

Women’s March in Washington, DC. ROA.23-10836.11407-11408, 12492.

Carter was upset that union members attended the march and believed her

union dues had paid for their trip. ROA.23-10836.12493.

     In February 2017, Carter sent a series of hostile and graphic direct mes-

sages on Facebook to Audrey Stone, a fellow flight attendant and President



                                    -9-
       Case: 23-10836   Document: 64    Page: 26   Date Filed: 10/12/2023




of Local 556. ROA.23-10836.11407, 14749-14752. Carter’s first message fea-

tured a graphic image of a fetus in a metal bowl that linked to a video about

abortion. She wrote: “TWU-AFL-CIO and 556 are supporting this Murder.”

ROA.23-10836.14749. Carter then sent another message with an image of an

aborted fetus in the palm of a hand, linking to a video described as “An

aborted baby alive even after the abortion.” ROA.23-10836.14750. Carter

wrote: “This is what you supported during your Paid Leave with others at

the Women’s MARCH in DC….You truly are Despicable in so many ways…

cant wait to see you back on line.” Id. Carter then sent a picture of women

wearing hats with explicit likenesses of vaginas, writing: “Did you all dress

up like this…” ROA.23-10836.14751. Carter also sent Stone a link to an article

about an organizer of the Women’s March, commenting, “you are nothing

but a SHEEP in Wolves Clothing or you are just so un-educated you have

not clue who or what you were marching for! Either way you should not be

using our DUES to have Marched in this despicable show of TRASH!”

ROA.23-10836.14752. Carter continued to send Stone similar messages until

Stone reported Carter to her manager. ROA.23-10836.14774-14775.




                                    - 10 -
       Case: 23-10836   Document: 64    Page: 27   Date Filed: 10/12/2023




      B.    Carter posts graphic videos on her public Facebook account,
            which identified her as a Southwest employee.

      Carter did not limit her hostile, graphic messages to private communi-

cations with Stone. She also posted similar messages on her Facebook page,

which was “open to the public,” ROA.23-10836.12999, and which advertised

her role as a Southwest flight attendant with pictures of her in her uniform,

with Southwest pilots, and of her Southwest employee badge, ROA.23-

10836.14852-14855.

      On her Facebook page, for instance, Carter posted the same video of a

fetus in a bowl that she sent Stone. The caption stated, “If its your body your

choice, who is this laying in the fucking bowl?” Carter wrote above the

video, “WARNING this is VERY GRAPHIC!!... This is MURDER.” ROA.23-

10836.14747. Carter also posted the video of the fetus in the palm of a hand,

adding: “THIS IS GRAFIC….but it needs to be shared over and over….this

is MURDER!” ROA.23-10836.14748.

      C.    Southwest investigates Carter’s behavior and fires her for it.

      1.    Stone reported Carter’s messages to her manager. ROA.23-

10836.14774-14775. Stone said she saw the messages while “waiting to board

a flight,” and that she “sat in the gate area alone and cried.” ROA.23-



                                    - 11 -
       Case: 23-10836   Document: 64    Page: 28   Date Filed: 10/12/2023




10836.14774. Finding the messages “incredibly disturbing,” as well as

“threatening,” “obscene and violent,” Stone reported them out of concern

that they would “be sent to another flight attendant.” Id. Stone was “fearful

to return to [her] job as a line-flying Flight Attendant due to repeated per-

sonal attacks and threats.” Id. Southwest held a factfinding meeting with

Stone, who explained that she perceived Carter’s statement “cant wait to see

you back on line” to be a threat given other physical threats made against

Stone on Facebook, including pictures of her with a knife to her head.

ROA.23-10836.14847-14848; see also ROA.23-10836.11950-11951.

      Southwest’s Employee Relations team held a factfinding meeting with

Carter. ROA.23-10836.11408, 14887. Carter, represented by a Local 556 rep-

resentative, ROA.23-10836.14905, told Southwest that she is “Christian” and

“pro-life” and that abortion “is a huge issue” for her, ROA.23-10836.14887.

Carter said she has a “deep, deep want to get the word out” about abortion

to “more and more people [to] see what actually happens.” Id. She explained

that, “as a Christian, if [she] can get the word out in any way, to every group

as possible to touch [abortion],” she will. ROA.23-10836.14888. Carter ex-

plained that she accused Stone of supporting murder because Local 556

attended the Women’s March. ROA.23-10836.14892.

                                    - 12 -
      Case: 23-10836    Document: 64    Page: 29   Date Filed: 10/12/2023




     Southwest’s Employee Relations team concluded that “[Carter] used

Facebook Messenger to send [Stone] videos which depicted abortions and

pictures of women dressed as vaginas.” ROA.23-10836.15004. The team

noted that Carter “explained she did so because she is a ‘Christian and a

Conservative’” and because Stone “participated in the National Women’s

March in Washington, D.C.” Id.

     2.    Southwest sent Stone a termination notice. ROA.23-10836.11408,

15007. The notice explained that Carter admitted she had posted graphic vid-

eos on Facebook, where she was identifiable as a Southwest employee, and

that she sent graphic videos of aborted fetuses and an image of people wear-

ing vagina costumes to a coworker. Carter “agreed that the pictures and

videos were graphic.” ROA.23-10836.15007. Southwest determined that

Carter’s Facebook posts were “highly offensive” and that her messages to

Stone were “harassing and inappropriate.” Id. Southwest thus concluded

that Carter’s conduct was “in direct violation of the Southwest Airlines Mis-

sion statement,” “Workplace Bullying and Hazing Policy,” and “Social

Media Policy,” and that it could violate Southwest’s Policy Concerning Har-

assment, Sexual Harassment, Discrimination and Retaliation. Id.




                                    - 13 -
      Case: 23-10836      Document: 64   Page: 30   Date Filed: 10/12/2023




     D.       Carter, represented by Local 556, grieves her termination, and
              the arbitrator sides with Southwest.

     In accordance with Local 556’s collective-bargaining agreement,

ROA.23-10836.14438, Carter filed a grievance challenging her termination,

see ROA.23-10836.14708. Two union representatives represented her at the

grievance hearing. ROA.23-10836.15157. After the hearing, Southwest of-

fered to reinstate Carter and reduce her termination to a 30-day suspension.

ROA.23-10836.12571-12572, 14708. Carter rejected the offer, ROA.23-

10836.2357, and the parties proceeded to arbitration, ROA.23-10836.14439.

After a two-day hearing involving 32 exhibits and testimony from nine wit-

nesses, the arbitrator concluded that it was “clear beyond a reasonable doubt

that [Southwest] had just cause to terminate [Carter]” because Carter vio-

lated the Social Media Policy, the Workplace Bullying and Hazing Policy,

and the Harassment Policy. ROA.23-10836.3159. Each of those policy viola-

tions was “an independently sufficient basis for termination.” ROA.23-

10836.3161.




                                     - 14 -
       Case: 23-10836   Document: 64    Page: 31   Date Filed: 10/12/2023




II.   Procedural background

      A.    Carter sues Southwest and Local 556, and the district court
            denies Southwest’s motion to dismiss and motion for
            summary judgment.

      1.    Carter sued Southwest and Local 556. Against Southwest, as rel-

evant here, her operative complaint alleges violations of Title VII and the

Railway Labor Act. ROA.23-10836.999-1031. First, Carter alleges that South-

west violated Title VII by “terminat[ing] [her] for her religious beliefs.”

ROA.23-10836.1027. Second, Carter alleges that Southwest violated Title VII

by firing her “for engaging in the religious practice of sharing religious be-

liefs on abortion with the union president and on her personal Facebook

page.” Id. Finally, Carter alleges that Southwest fired her in retaliation for

engaging in protected activity, in violation of 45 U.S.C. § 152 Third and

Fourth of the RLA. In her view, § 152 Third and Fourth protect an employ-

ees’ rights to “oppos[e], challeng[e], and advocat[e] against” a union, and

she engaged in such activity when she sent Facebook messages to Stone.

ROA.23-10836.1023-1024.

      Carter also brought an RLA claim against Local 556 for breaching its

duty of fair representation. ROA.23-10836.1019-1023. She claims that Local

556 caused Southwest to discipline her because Stone reported Carter’s


                                    - 15 -
       Case: 23-10836   Document: 64    Page: 32   Date Filed: 10/12/2023




conduct to Southwest, breaching the union’s duty “to act with complete loy-

alty towards those it represents.” ROA.23-10836.1019-1020.

     2.    Before Carter filed her operative complaint, the district court dis-

missed with prejudice two RLA claims she had raised in her prior complaint

while allowing her RLA retaliation claim against Southwest and her RLA

fair-representation claim against Local 556 to proceed. The court agreed with

Southwest that the RLA plays a very limited role after a union is certified.

Specifically, § 152 Third and Fourth, the provisions Carter invoked, protect

employees’ right to choose their union representatives and bargain collec-

tively without interference, meaning that, after certification, the provisions

apply “in only limited circumstances,” such as where there has been “a fun-

damental attack on the collective bargaining process” or a “direct attempt to

destroy a union.” ROA.23-10836.858.

     The district court reasoned that Carter did not allege “anti-union ani-

mus or a fundamental attack on the collective bargaining process.” ROA.23-

10836.859. Instead, Carter alleged at most “an internal Union dispute” be-

tween Carter and Stone. ROA.23-10836.860. But § 152 “was not designed to

give minority groups within a union a cause of action against their employer

when they cannot persuade their own union to take actions they deem to be

                                    - 16 -
       Case: 23-10836     Document: 64   Page: 33   Date Filed: 10/12/2023




in the union’s best interest.” Id. (quoting Renneisen v. American Airlines, Inc.,

990 F.2d 918, 92 (7th Cir. 1993)). And Carter could not establish that she had

no remedy to enforce her RLA statutory rights, because she used the griev-

ance procedure set out in the CBA. ROA.23-10836.860-861. The court thus

concluded that Carter “failed to state a statutory cause of action under 45

U.S.C. § 152, Third and Fourth of the RLA.” ROA.23-10836.859-860.

      Despite dismissing Carter’s first two RLA claims, the district court

found that she had stated a claim “that Southwest retaliated against her for

the exercise of her rights … under the RLA.” ROA.23-10836.861-863. The

court did not identify which provision of the RLA supposedly protected

Carter’s actions, or the elements of such an RLA retaliation claim, even

though it had just found that Carter could not state a cause of action under

§ 152 Third and Fourth.

      The district court also allowed Carter’s Title VII claims to proceed,

finding that Southwest’s undue hardship defense was a “fact-intensive in-

quiry” to be addressed later. ROA.23-10836.870.

      3.    Southwest moved for summary judgment, which the district

court denied. The court reasoned that Carter’s RLA retaliation claim was

permissible because it does not “require interpretation of the collective

                                     - 17 -
       Case: 23-10836    Document: 64      Page: 34   Date Filed: 10/12/2023




bargaining agreement” or “bring the meaning of any collective bargaining

agreement provisions into dispute.” ROA.23-10836.6815-6816. The court ig-

nored Southwest’s argument that the court’s motion-to-dismiss opinion had

“already concluded that [Carter] has not presented any evidence of ‘anti-un-

ion animus,’” as necessary to bring an RLA claim. ROA.23-10836.2126. As to

Carter’s Title VII claims, the court concluded without analysis that the par-

ties genuinely disputed “the reason that Southwest terminated Carter.”

ROA.23-10836.6824.

      B.    A jury rules for Carter.

      1.    At trial, Carter relied on her Facebook posts and messages, her

termination letter, and notes from Southwest’s investigation to show that

Southwest knew she was a pro-life Christian before firing her, and that it

fired her for her posts and messages. ROA.23-10836.14747-14773, 14887-

14889, 15002-15003, 15007. Carter claimed the posts and messages were her

religious practice. ROA.23-10836.12498-12499. But she produced no evi-

dence that Southwest fired her for her religious belief.

      To the contrary, Southwest supervisors—themselves pro-life Chris-

tians, ROA.23-10836.12828-12829—testified that Carter’s religious belief

played no role in the decision to fire Carter. Southwest fired Carter, they


                                       - 18 -
      Case: 23-10836    Document: 64   Page: 35   Date Filed: 10/12/2023




explained, because sending graphic and hostile messages to coworkers, and

posting such messages on Facebook while identifiable as a Southwest em-

ployee, violated Southwest’s policies on bullying, social media, and

harassment. E.g., ROA.23-10836.14747-14773, 14887-14889, 15002-15003,

15007. As one supervisor testified, “[t]he decision was based on … the egre-

giousness of the videos and the posts that were made and the personal

messages that were sent depicting a very graphic image.” ROA.23-

10836.12878-12879.

     Southwest employees also testified about the hardship to employee

morale that would result from allowing Carter to continue sending graphic

videos to her colleagues. A senior supervisor explained that if Southwest ac-

commodated Carter’s conduct, employees “would lose respect for each

other, we would lose the family-type feel that Southwest Airlines has always

been a proponent of in how we treat each other. and it would have an ad-

verse affect on how we work together and how we interact[] as a group of

employees.” ROA.23-10836.12880. And several employees testified that they

were “horrified” by the videos, ROA.23-10836.12998, that the posts were

“obscene and violent,” ROA.23-10836.14774, and that they “felt physically

ill” viewing them ROA.23-10836.12798. Given this Court’s longstanding,

                                   - 19 -
       Case: 23-10836    Document: 64    Page: 36   Date Filed: 10/12/2023




clear precedent that “[t]he mere possibility of an adverse impact on co-work-

ers” of accommodating a religious practice constitutes undue hardship

placing the practice beyond Title VII’s protection, Weber, 199 F.3d at 274,

Southwest did not need or seek to introduce evidence of the economic costs

of accommodating Carter’s conduct.

      2.    At the close of evidence, the court instructed the jury on Carter’s

RLA count and two Title VII counts.

      On Carter’s RLA claim, the district court instructed the jury that Carter

needed to show that (1) she engaged in activity that is protected by § 152

Third or Fourth; (2) Southwest discharged her; and (3) her protected activity

was a substantial or motivating factor in Southwest’s decision to discharge

Carter. ROA.23-10836.13398-13399. As to the first prong, Carter had sought

an instruction that her conduct did “not lose its protection” under the RLA

“even if the jury decides that Carter’s protected activity is ‘vulgar, offensive,

abusive, threatening, or harassing.’” ROA.23-10836.7000. Southwest re-

quested just the opposite instruction—that protected activity does not

include conduct that “is flagrant, violent, extreme, egregious, inappropriate,

offensive, obscene, harassing, intimating, or hostile.” ROA.23-10836.13205-




                                     - 20 -
       Case: 23-10836   Document: 64    Page: 37   Date Filed: 10/12/2023




13206; see ROA.23-10836.8413-8414. Over Southwest’s repeated objection,

the district court gave Carter’s requested instruction:

      All union oppositional and organizational activity is protected
      under Section 152 Third and Fourth unless it: One, constitutes a
      threat of violence; Or, two, is a false statement made with
      knowledge of its falsity or with reckless disregard for the truth.
      Activity that is intemperate, abusive, insulting, or hyperbolic is
      protected activity under Section 152 Third and Fourth.

ROA.23-10836.13399-13400.

      As to Title VII, the district court instructed the jury on two counts,

which the court described as an “unlawful discharge claim” and a “failure

to accommodate claim.” ROA.23-10836.13398-13401, 13405. On unlawful

discharge, the district court instructed the jury that Carter needed to prove

that (1) Southwest discharged Carter; and (2) Southwest was motivated to

discharge her because of her sincerely held religious observances, beliefs, or

practices. ROA.23-10836.13401-13402.

      On Carter’s failure to accommodate claim, the court instructed the jury

that Carter needed to prove that (1) Carter’s sincerely held religious beliefs,

observances, or practices conflicted with a job requirement; (2) Southwest

discharged Carter for failing to comply with that conflicting job requirement;

and (3) Southwest discharged Charter with a motive of avoiding the need to



                                    - 21 -
       Case: 23-10836   Document: 64    Page: 38   Date Filed: 10/12/2023




accommodate a religious belief, observance, or practice. ROA.23-

10836.13406. Southwest requested an instruction on the “undue hardship”

defense to religious-practice discrimination, that “[a]n ‘undue hardship’ is

an action that imposes more than a de minimis burden on the employer or

the co-workers of the individual seeking an accommodation.” ROA.23-

10836.7091; see ROA.23-10836.8416. The district court refused. At the formal

charge conference, Southwest objected that “the Court’s [proposed] instruc-

tion overstates the burden and doesn’t include all of the various burdens that

could constitute an undue hardship, including but not limited to burden to

other employees,” because such harm “doesn’t actually have to be any kind

of monetary loss” under Fifth Circuit precedent. ROA.23-10836.13223. The

court again refused. The court instead instructed the jury that “[u]ndue

hardship cannot be proven by merely proving any cost or any disruption or

inconvenience to the business,” and that “undue hardship means more than

a de minim[i]s cost on the conduct of the employer’s business either in terms

of financial costs or disruption of the business.” ROA.23-10836.13406-13407.

      The jury found Southwest liable for retaliating against Carter “for en-

gaging in activity protected by the Railway Labor Act”; for discharging

Carter because of her religious observances, beliefs, or practices; and for

                                    - 22 -
       Case: 23-10836    Document: 64    Page: 39   Date Filed: 10/12/2023




failing to accommodate Carter’s religious beliefs, practices or observances.

See ROA.23-10836.8572-8575. The district court entered judgment for Carter,

ordering Southwest to reinstate her with backpay; post on company bulletin

boards and email all flight attendants the verdict and judgment; and inform

all flight attendants “that, under Title VII, they may not discriminate against

Southwest flight attendants for their religious practices and beliefs.”

ROA.23-10836.8955.

      C.    The district court denies Southwest’s Rule 50(b) motion.

      1.    After the verdict, Southwest moved under Rule 50(b) for judg-

ment as a matter of law. Southwest argued that there was insufficient

evidence of religious-belief-based discrimination, because there was “no ev-

idence of hostile comments regarding Christians generally or Carter’s

religious beliefs specially,” nor any evidence “of any non-Christian employ-

ees who [Carter] believes Southwest treated more favorably than herself.”

ROA.23-10836.9477.

      As to religious-practice-based discrimination, Southwest contended

that the court gave an impermissibly limited undue-hardship instruction

that allowed the jury to consider harms to a business only “in terms of finan-

cial costs or disruption of the business,” and didn’t allow the jury to consider


                                     - 23 -
       Case: 23-10836     Document: 64    Page: 40   Date Filed: 10/12/2023




burdens “on an employee’s co-workers.” ROA.23-10836.9474. Southwest

also renewed its argument that § 152 Third and Fourth do not allow post-

certification claims unless “the employer’s actions were animated by ex-

treme anti-union animus or constituted a fundamental attack on collective

bargaining,” and that they do not protect speech “that is flagrant, violent,

extreme, egregious, opprobrious, offensive, or obscene.”                 ROA.23-

10836.9485.

      2.      The district court denied the motion. As to belief-based discrim-

ination, the court stated that Carter had introduced evidence “that

Southwest directly discriminated against her.” ROA.23-10836.10408. But the

court cited no such evidence, instead pointing only to Carter’s messages and

posts, id., which are evidence of practice, not belief, infra pp. 48-50. And alt-

hough Carter had expressly disclaimed relying on indirect evidence,

ROA.23-10836.10354, the court also reasoned that Carter had introduced ev-

idence of pretext by showing that Southwest terminated her for “posting

religious expression on Facebook” but did not discipline “other Southwest

employees who carried political messages at a divisive and highly publi-

cized political protest.” ROA.23-10836.10408.




                                      - 24 -
      Case: 23-10836    Document: 64   Page: 41   Date Filed: 10/12/2023




     As to practice-based discrimination, the court criticized the Supreme

Court’s standard for undue hardship under Trans World Airlines, Inc., v. Har-

dison, 432 U.S. 63, 84 (1977)—the then-governing standard reflected in this

Court’s then-governing caselaw—instead citing the Hardison dissent and

hoping that Hardison “may soon rest in peace.” ROA.23-10836.10404. The

court concluded that its undue-hardship instruction “encompasse[d] the to-

tality of Southwest’s business and did not prevent the jury from considering

potential burdens on Carter’s co-workers.” ROA.23-10836.10403.

     Finally, the court rejected Southwest’s renewed argument that § 152

Third and Fourth require anti-union animus in the post-certification context.

ROA.23-10836.10416.

     3.    Southwest appealed. ROA.23-10836.10602-10603.

     D.    The district court holds Southwest in contempt and this Court
           stays that order.

     1.    To comply with the judgment, Southwest reinstated Carter,

posted the verdict and judgment in all flight-attendant breakrooms, and

emailed all flight attendants the verdict and judgment. ROA.23-10836.9442.

The email stated that “a federal court in Dallas entered a judgment against




                                   - 25 -
       Case: 23-10836      Document: 64   Page: 42   Date Filed: 10/12/2023




Southwest” and “ordered us to inform you that Southwest does not discrim-

inate against our Employees for their religious practices and beliefs.” Id.

      Southwest also published an internal Inflight Info on the Go (IIOTG)

Memo for flight attendants, explaining that an employee had sued South-

west after engaging in conduct that Southwest “believed [was]

inappropriate, harassing, and offensive.” ROA.23-10836.9444. The memo de-

scribed the judgment, which required Southwest to “pay monetary

damages, distribute communication to Flight Attendants about the ruling,

and reinstate [the employee’s] employment with the Company.” Id. South-

west promised to “implement the judgment” even as it was “extremely

disappointed with the court’s ruling and [is] appealing the decision to the

Fifth Circuit.” Id. Southwest reminded employees to adhere to Southwest

policies and display “Civility, Care and Unity at all times, regardless of our

differing opinions.” Id.

      2.    Carter moved for contempt, arguing that Southwest violated the

judgment by saying it “does not discriminate” rather than “may not discrim-

inate” and contradicting the required notice with the IIOTG Memo. ROA.23-

10836.9410-9428. Although Southwest disagreed that it had violated the

judgment, it offered to send a new email saying it “may not discriminate”

                                      - 26 -
       Case: 23-10836   Document: 64      Page: 43   Date Filed: 10/12/2023




and to pay Carter’s contempt-related attorneys’ fees. ROA.23-10836.10535-

10536. The district court nonetheless held Southwest in contempt, finding

that Southwest’s email contravened the judgment and the IIOTG Memo un-

dermined the court’s notice requirement. ROA.23-10836.10651-10653.

     The district court ordered Southwest to issue verbatim a new notice to

its flight attendants. ROA.23-10836.10654-10660. The court also ordered

three of Southwest’s in-house lawyers to complete eight hours of “religious-

liberty training” with the Alliance Defending Freedom (ADF), an ideological

advocacy group, before Southwest circulates the new notice. ROA.23-

10836.10668. Southwest appealed, ROA.23-10836.10670-10671, and this

Court consolidated the contempt appeal with the merits appeal, Doc. 20. The

district court denied a stay pending appeal and set September 26, 2023, as

the new training deadline. Dist. Ct. Doc. 483 (Stay Op.).

     3.    Southwest then sought a stay from this Court. On September 25,

2023, the Court granted an administrative stay. Doc. 54. On September 26,

2023, the Court entered an order carrying the stay with the case for consid-

eration along with the merits. Doc. 57.




                                    - 27 -
       Case: 23-10836        Document: 64   Page: 44   Date Filed: 10/12/2023




                        SUMMARY OF ARGUMENT

      The Court should reverse and vacate the judgment, verdict, and Con-

tempt Order against Southwest.

      I.    The jury verdict cannot stand on Carter’s two Title VII claims.

Carter’s religious-belief-based discrimination claim fails as a matter of law

because Carter introduced no evidence that Southwest fired her for her be-

lief. And her religious-practice-based discrimination claim requires a new

trial because the district court erroneously instructed the jury under then-

controlling Circuit precedent, and Groff’s change in law requires a new trial

giving Southwest an opportunity to present evidence to meet the Supreme

Court’s new undue-hardship standard.

      A.    1.     Title VII treats religious-belief-based discrimination and

religious-practice-based discrimination differently. An employee cannot

show belief-based discrimination just by showing an employer fired her for

her religious practice. Although an employer may not take an adverse action

against an employee because of her religious beliefs, 42 U.S.C. § 2000e-2(a),

an employee’s religious practice is not protected if accommodating the prac-

tice would impose an “undue hardship on the conduct of the employer’s

business,” id. § 2000e(j).


                                        - 28 -
       Case: 23-10836    Document: 64    Page: 45   Date Filed: 10/12/2023




      2.    To show discrimination, a plaintiff must (a) produce direct evi-

dence of discrimination or (b) satisfy the McDonnell Douglas test for pretext

by introducing indirect (i.e., circumstantial) evidence sufficient to show that

an employer’s nondiscriminatory explanations for the adverse action were

pretext for discrimination. Direct evidence shows unlawful motive on its

face, unambiguously, and without inference—like a supervisor firing an em-

ployee while saying, “You’re too religious,” Dixon v. The Hallmark Companies,

Inc., 627 F.3d 849, 854 (11th Cir. 2010)—and is “rare,” Herster v. Board of Su-

pervisors of Louisiana State University, 887 F.3d 177, 184-85 (5th Cir. 2018). To

satisfy McDonnell Douglas, the plaintiff must identify similarly situated em-

ployees without the protected characteristic who were treated more

favorably “under nearly identical circumstances.” Alkhawaldeh v. Dow Chem-

ical Co., 851 F.3d 422, 426 (5th Cir. 2017). The plaintiff cannot prevail without

such “comparator” evidence. Id. at 426-27.

      3.    When an employee claims she was fired because of her religious

practice, the employer can show that accommodating that practice would

impose an “undue hardship on the conduct of [its] business” and so the prac-

tice is not protected as “religion” under Title VII. 42 U.S.C. § 2000e(j). At the

time of trial, the “mere possibility of an adverse impact on co-workers,” was

                                     - 29 -
       Case: 23-10836     Document: 64     Page: 46    Date Filed: 10/12/2023




an undue hardship, Weber, 199 F.3d at 274, even if the employer “incurred

no direct money cost from” accommodating the conduct, Howard v. Haverty

Furniture Cos., 615 F.2d 203, 206 (5th Cir. 1980). It was also well-established

that an employer didn’t need to accommodate a religious practice if doing

so could expose the employer to liability for creating a hostile work environ-

ment, see Peterson v. Hewlett-Packard Co., 358 F.3d 599, 608 (9th Cir. 2004)—

itself a Title VII violation, e.g., Dediol v. Best Chevrolet, Inc., 655 F.3d 435, 440

(5th Cir. 2011).

      After the judgment, but before this appeal, the Supreme Court

changed the undue-hardship standard in Groff, 143 S. Ct. at 2295, holding

that an employer asserting undue hardship must show that accommodating

the practice “would result in substantial increased costs in relation to the

conduct of [the employer’s] particular business.” Id. Groff wrought a signifi-

cant change in this Circuit, casting doubt on this Court’s explicit disclaimers

that cost-based evidence is unnecessary. But Groff did not change the basic

principle that accommodating a religious practice that could create a hostile

work environment for other employees creates an undue hardship.

      B.     These principles make clear that the Title VII verdict for Carter

cannot stand. Carter’s belief-based discrimination fails as a matter of law

                                       - 30 -
       Case: 23-10836     Document: 64     Page: 47   Date Filed: 10/12/2023




because she introduced no direct or indirect evidence that Southwest fired

her because of her religious belief.

      1.      Carter introduced no direct evidence that anyone at Southwest

had an unlawful motive in terminating her. To the contrary, Southwest em-

ployee after Southwest employee (many pro-life Christians themselves)

testified that Carter was fired because she violated Southwest’s neutral com-

pany policies designed to promote civility in the workplace. Carter

presented no evidence that anyone at Southwest held animus toward pro-

life Christians. And contrary to Carter and the district court, evidence that

Southwest fired Carter for her practice—sending a coworker hostile and

graphic messages about abortion and publicly posting such graphic mes-

sages on Facebook—is by definition not direct evidence of belief-based

discrimination, because it requires (unwarranted) inferences to reach that

conclusion.

      2.      Carter’s evidence is also legally insufficient to show pretext un-

der the McDonnell Douglas framework. She expressly and repeatedly waived

reliance on a McDonnell Douglas pretext theory. In any event, she introduced

no comparator evidence showing that Southwest declined to fire anyone

similarly situated who engaged in “‘nearly identical’ conduct.” Vaughn v.

                                       - 31 -
       Case: 23-10836    Document: 64      Page: 48   Date Filed: 10/12/2023




Woodforest Bank, 665 F.3d 632, 637 (5th Cir. 2011). Her claim of belief-based

discrimination fails as a matter of law.

      C.    Carter’s practice-based discrimination claim fails, too, and the

Court should remand for a new trial under Groff.

      1.    Southwest tried the case under this Court’s controlling prece-

dent that the mere possibility of adverse effects on employee morale is

undue hardship, without the need to show any business costs. Southwest

put on ample evidence of harm to morale, including the effect of Carter’s

messages on Stone and testimony from senior supervisors that accommodat-

ing Carter’s practice of sending graphic videos to her coworkers would

destroy flight attendant morale. ROA.23-10836.12874-12880. But the district

court erroneously instructed the jury that an employer must show “financial

costs or disruption of the business.” ROA.23-10836.13406-13407. That in-

struction required the jury to ignore Southwest’s evidence. Southwest hadn’t

introduced evidence of financial cost of business disruption because this

Court’s precedent made clear that it didn’t need to. See Weber, 199 F.3d at

274; Howard, 615 F.2d at 206. That instruction was reversible error.

      2.    Groff’s change in law still requires a new trial. The default rule is

that when the controlling law (here, the undue-hardship standard) changes

                                     - 32 -
       Case: 23-10836    Document: 64    Page: 49   Date Filed: 10/12/2023




after the verdict, but before appellate resolution, the Court will “remand for

a new trial to give parties the benefit of the new law and the opportunity to

present evidence relevant to that new standard.” Deffenbaugh-Williams v.

Wal-Mart Stores, Inc., 188 F.3d 278, 282 (5th Cir. 1999). That rule applies here:

Southwest had no reason to expect that the undue-hardship standard would

change. Remand will allow Southwest to present evidence that accommo-

dating Carter’s conduct would impose significant costs to its business by

devastating employee morale, translating directly to financial losses, and by

opening Southwest up to the costly threat of Title VII liability for enabling a

hostile work environment.

      II.   The verdict on Carter’s Railway Labor Act claim cannot stand.

      A.    The RLA provisions Carter invokes, 45 U.S.C. § 152 Third and

Fourth, are designed to protect employees’ unionization efforts from em-

ployer interference. The RLA relies primarily on mandatory arbitration,

rather than judicial intervention, to resolve disputes between employers and

employees. After a union is certified, § 152 Third and Fourth provide a cause

of action only in “extremely limited circumstances”: where the employer

acts with “anti-union animus,” such that the RLA’s arbitration mechanisms

cannot be presumed to work fairly. Wightman v. Springfield Terminal Railway,

                                     - 33 -
       Case: 23-10836    Document: 64    Page: 50   Date Filed: 10/12/2023




100 F.3d 228, 234 (1st Cir. 1996). Carter presented no evidence that Southwest

acted with animus toward Local 556, the local bargaining representative. As

a matter of law, her dispute with union official Stone was at most an internal

union dispute that doesn’t give rise to an RLA cause of action.

      B.     Separately, the RLA does not protect offensive or abusive con-

duct, as decades of National Labor Relations Act (NRLA) decisions, which

can be “helpful in deciding cases under the RLA,” Trans World Airlines, Inc.

v. Independent Federation of Flight Attendants, 489 U.S. 426, 432-33 (1989), make

clear. The RLA protects union organizing activity, not all activity, no matter

how hostile or abusive. But the district court gave the opposite instruction,

telling the jury that “abusive, insulting, or hyperbolic [conduct] is protected

activity.” ROA.23-10836.13399-13400 (emphasis added). That was error, and

Carter’s counsel capitalized on it in closing and rebuttal statements before

the jury. That error requires a new trial.

      III.   A.   The Contempt Order and religious-liberty-training man-

date cannot stand because the underlying verdict and judgment are invalid.

      B.     Even if the Court affirms the judgment, however, it should still

vacate the Contempt Order against Southwest.




                                     - 34 -
       Case: 23-10836   Document: 64    Page: 51   Date Filed: 10/12/2023




     1.    Contempt was improper because Southwest substantially com-

plied with the district court’s order. Southwest posted and distributed the

jury’s verdict and the judgment, thereby notifying all Southwest flight at-

tendants that Title VII prohibits Southwest from discriminating against

employees because of their religion.

     2.    The district court exceeded its civil-contempt authority by order-

ing religious-liberty (not even Title VII) training by the ADF, an ideological

advocacy group. Religious-liberty training has nothing to do with the two

permissible purposes of civil contempt: ensuring compliance with a court

order and compensating a party for noncompliance. The district court had

no authority to go beyond requiring Southwest to issue a new verbatim

statement and pay Carter’s contempt-related attorneys’ fees—the least-re-

strictive sanctions to accomplish those permissible goals.

     3.    The Contempt Order violates Southwest’s and its in-house attor-

neys’ First Amendment rights by punishing them for expressing the view

that Southwest did not violate Title VII in firing Carter. The order further

violates Southwest’s First Amendment rights because it chills Southwest’s

future speech about this case and forces Southwest and its in-house attor-

neys to listen to the views of an ideological advocacy group.

                                    - 35 -
       Case: 23-10836    Document: 64     Page: 52   Date Filed: 10/12/2023




                          STANDARD OF REVIEW

      When reviewing a district court’s denial of a Rule 50(b) motion, the

Court reviews questions of law de novo and asks “whether a ‘reasonable

jury would not have a legally sufficient evidentiary basis to find for the party

on that issue.’” Nobach v. Woodland Village Nursing Center, Inc., 799 F.3d 374,

377–78 (5th Cir. 2015) (quoting Fed. R. Civ. P. 50(a)(1)).

      The Court also reviews de novo the “legal conclusions underlying jury

instructions,” United States v. CITGO Petroleum Corp., 801 F.3d 477, 481 (5th

Cir. 2015), including “question[s] of statutory construction,” Janvey v. Dillon

Gage, Inc. of Dallas, 856 F.3d 377, 388 (5th Cir. 2017). Reversal is warranted if

the challenged instructions “affected the outcome of the case.” Jowers v. Lin-

coln Electric Co., 617 F.3d 346, 352 (5th Cir. 2010). Similarly, the Court will

find reversible error for failure to give a requested jury instruction if the re-

quested instruction “1) was a substantially correct statement of law, 2) was

not substantially covered in the charge as a whole, and 3) concerned an im-

portant point in the trial such that the failure to instruct the jury on the issue

seriously impaired the [party’s] ability to present a given [claim].” Baisden v.

I’m Ready Products, Inc., 693 F.3d 491, 505 (5th Cir. 2012).




                                      - 36 -
       Case: 23-10836    Document: 64     Page: 53   Date Filed: 10/12/2023




                                 ARGUMENT

I.    Carter failed to prove religious-belief-based discrimination as a
      matter of law, and the erroneous undue-hardship instruction
      requires a new trial on religious-practice-based discrimination.

      The jury found that Southwest violated Title VII by firing Carter be-

cause of her religious belief and her religious practice of disseminating

graphic anti-abortion messages and posts. But neither finding can stand un-

der blackletter law. Carter failed to prove discrimination because of religious

belief as a matter of law, and the court’s failure to correctly instruct the jury

as to undue hardship requires a new trial on Carter’s practice-based claim.

      First, Carter introduced no evidence at trial that Southwest discrimi-

nated against her because of her religious belief. Carter offered no direct

evidence—evidence requiring no inference—that Southwest fired her be-

cause of her pro-life Christianity, or even any evidence of animus toward her

belief. Carter showed only that Southwest knew she was a pro-life Christian

and fired her for violating company policies. But awareness of a protected

characteristic and termination are insufficient as a matter of law to find a

violation of Title VII. See Clark v. Champion National Security, Inc., 952 F.3d

570, 580-81 (5th Cir. 2020); Geraci v. Moody-Tottrup, International, Inc., 82 F.3d

578, 581 (3d Cir. 1996). Without direct evidence, Carter had to proceed under


                                      - 37 -
      Case: 23-10836    Document: 64   Page: 54   Date Filed: 10/12/2023




the framework from McDonnell Douglas, by putting on circumstantial evi-

dence showing that Southwest did not fire a “similarly situated” person who

was not a pro-life Christian “under nearly identical circumstances.” Alkha-

waldeh, 851 F.3d at 426. But Carter disclaimed that standard, didn’t try to

satisfy it, and could not do so as a matter of law anyway, because she iden-

tified nobody similarly situated who engaged in anything like her behavior.

     Second, Title VII doesn’t protect Carter’s conduct as religious “prac-

tice,” because accommodating it would devastate employee morale. The

district court failed to properly instruct the jury on undue hardship under

then-controlling Circuit precedent that Southwest relied on to try the case,

which recognized that harm to employee morale, without economic quanti-

fication, constituted undue hardship. The intervening change in law in Groff

requires a new trial giving Southwest the opportunity to put on evidence

satisfying the new standard.




                                   - 38 -
       Case: 23-10836    Document: 64    Page: 55   Date Filed: 10/12/2023




      A.    Title VII prohibits discrimination against an employee
            because of her religious belief or practice.

            1.    Religious belief and religious practice are definitionally
                  distinct, and an employee cannot simply recast practice-
                  based discrimination as belief-based discrimination.

      Title VII prohibits discrimination “because of” an employee’s “reli-

gion,” 42 U.S.C. § 2000e-2-(a)(1), and defines “religion” to include both

religious belief and religious practice, id. § 2000e(j). But Title VII does not

protect a religious practice that the employer “is unable to reasonably ac-

commodate … without undue hardship on the conduct of the employer’s

business.” Id. Thus, religious-belief-based discrimination claims and reli-

gious-practice-based discrimination claims must proceed on different tracks.

Although an employer cannot fire an employee for her belief, it can fire an

employee because of her religious practice when accommodating that prac-

tice would impose an undue hardship on the employer’s business. See, e.g.,

Tagore v. United States, 735 F.3d 324, 330 (5th Cir. 2013) (undue hardship to

accommodate Sikh employee who requested to wear a ceremonial sword to

work). In such a case, the employee’s religious practice does not fall defini-

tionally within the “religion” protected by Title VII. 42 U.S.C. § 2000e(j).




                                     - 39 -
       Case: 23-10836    Document: 64    Page: 56   Date Filed: 10/12/2023




      A plaintiff claiming belief-based discrimination must prove that her

belief was one of her employer’s motives for discriminating. See generally

University of Texas Southwestern Medical Center v. Nassar, 570 U.S. 338, 343

(2013). Thus, an employer discriminates because of belief if it fires an em-

ployee because she is Jewish. Dixon, 627 F.3d at 854. Similarly, an employee

can show practice-based discrimination where, for example, her employer

fires her with the motive of avoiding having to accommodate her religious

practice. EEOC v. Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 773 (2015).

      Because “belief” and “practice” are definitionally distinct, and an em-

ployer may raise an undue-hardship defense to a practice-based claim, 42

U.S.C. § 2000e(j), an employee cannot prove belief-based discrimination

simply by showing that the employer fired her because of her religious prac-

tice. If she could, then undue hardship would never be a defense and an

employer would always need to accommodate an employee’s religious prac-

tice, shielded as belief, no matter its effect on the workplace or the business.

The only way to give effect to Congress’ choice to create an undue-hardship

defense is to respect the line Congress drew between practice and belief. See,

e.g., Shapolia v. Los Alamos National Laboratory, 992 F.2d 1033, 1037 (10th Cir.

1993) (in a religious belief case, “[t]here are no questions regarding

                                     - 40 -
       Case: 23-10836    Document: 64     Page: 57   Date Filed: 10/12/2023




accommodation or reasonableness”). Of course, an employee may simulta-

neously claim belief-based and practice-based discrimination, but to prevail

on the belief-based claim she must show that the belief, not the practice, was

a motivating factor for the adverse action.

            2.    An employee claiming discrimination must introduce
                  direct evidence, or satisfy the test under McDonnell
                  Douglas for claims based on indirect evidence.

      An employee may introduce “either direct or [indirect] evidence” to

show that her employer was motivated by a protected characteristic (like her

religion) in firing her. Nobach, 799 F.3d at 378 n.6; see also Portis v. First Na-

tional Bank of New Albany, 34 F.3d 325, 328 (5th Cir. 1994). Although a plaintiff

can prove a Title VII case with direct evidence alone, a plaintiff with only

indirect (i.e., circumstantial) evidence must satisfy the standard set out in

McDonnell Douglas. Herster, 887 F.3d at 184-86.

      a.    Direct evidence “shows on its face that an improper criterion

served as a basis … for the adverse employment action.” Id. at 185. Put an-

other way, direct evidence, “if believed, proves the fact of discriminatory

animus without inference or presumption.” Sandstad v. CB Richard Ellis, Inc.,

309 F.3d 893, 897 (5th Cir. 2002). Examples include an employer telling an

employee, “You’re fired, too. You’re too religious,” Dixon, 627 F.3d at 854, or


                                      - 41 -
       Case: 23-10836     Document: 64     Page: 58   Date Filed: 10/12/2023




that “she would be paid less because she was a woman,” Portis, 34 F.3d at 329.

Because direct evidence of discriminatory intent is “rare,” Herster, 887 F.3d

at 185, and “difficult to obtain,” the “vast majority of employment-discrimi-

nation claims will rest on circumstantial evidence,” Luster v. Illinois

Department of Corrections, 652 F.3d 726, 733 (7th Cir. 2011).

      An employee’s termination plus her employer’s general knowledge of

her protected characteristic is not direct evidence of discrimination. See Clark,

Inc., 952 F.3d at 580-81 (citing Title VII cases); Geraci, 82 F.3d at 581. In Clark,

for example, this Court held that a plaintiff who “fails to point to any state-

ment or document that directly and expressly links his [protected category]

to a decisionmaker’s choice to terminate him” has not provided direct evi-

dence. 952 F.3d at 580. Likewise, in Evance v. Trumann Health Services, LLC,

719 F.3d 673, 677 (8th Cir. 2013), the court held that an employee’s “termina-

tion itself” was not “direct evidence of discrimination” against the

employee’s Pentecostal beliefs, because the “record [did] not contain any ev-

idence of a discriminatory attitude” towards Pentecostals.

      b.    A plaintiff without direct evidence must rely on indirect (i.e., cir-

cumstantial) evidence. See, e.g., Herster, 887 F.3d at 184. If “an inference is

required for the evidence to be probative as to [an employer’s]

                                       - 42 -
       Case: 23-10836     Document: 64    Page: 59   Date Filed: 10/12/2023




discriminatory animus in firing [an employee], the evidence is circumstan-

tial, not direct.” Sandstad, 309 F.3d at 897-98.

      “When confronting indirect evidence, courts use the burden-shifting

framework from McDonnell Douglas.” McMichael v. Transocean Offshore Deep-

water Drilling, Inc., 934 F.3d 447, 456 (5th Cir. 2019). Under that framework,

a plaintiff must show that the employer’s nondiscriminatory explanations

for the adverse action are pretextual, see McCoy v. City of Shreveport, 492 F.3d

551, 557 (5th Cir. 2007), by showing that the employer did not take that action

against “other ‘similarly situated’ employees for ‘nearly identical’ conduct,”

Vaughn, 665 F.3d at 637. The plaintiff cannot prevail if she fails to produce

evidence regarding similarly situated employees, also known as “compara-

tors.” Alkhawaldeh, 851 F.3d at 426-27. Thus, when an employer offers a

legitimate reason for firing an employee who alleges discrimination based

on religious belief, the employee must identify comparators. Id.

      The comparator requirement is rigorous. The Title VII claimant must

identify at least one coworker outside of her protected class who was treated

more favorably “under nearly identical circumstances.” Id. at 426. That

coworker “must hold the ‘same job’ or hold the same job responsibilities as

the Title VII claimant; must ‘share[] the same supervisor or’ have his

                                      - 43 -
       Case: 23-10836     Document: 64   Page: 60   Date Filed: 10/12/2023




‘employment status determined by the same person’ as the Title VII claim-

ant; and must have a history of ‘violations’ or ‘infringements’ similar to that

of the Title VII claimant.” Id.

            3.     An employer defeats a religious-practice-based
                   discrimination claim (also known as a failure-to-
                   accommodate claim) by showing that accommodating
                   the employee’s religious practice would impose an
                   undue hardship on the employer’s business.

      When an employee claims she was fired because of her religious prac-

tice, rather than her belief, the employer may raise an undue-hardship

defense. See 42 U.S.C. § 2000e(j). If the employer shows that accommodating

the practice would impose an “undue hardship on the conduct of [its] busi-

ness,” the practice is not protected as “religion” under Title VII. Id.

      a.    At the time of trial, requiring an employer “to bear more than a

de minimis cost” to accommodate an employee’s religious practice was “an

undue hardship.” Hardison, 432 U.S. at 84. Decades of precedent defined un-

due hardship to include “[t]he mere possibility of an adverse impact on co-

workers,” Weber, 199 F.3d at 274, and a “disruption of work routines and a

lowering of morale among” employees, Brener v. Diagnostic Center Hospital,

671 F.2d 141, 147 (5th Cir. 1982); see also Eversley v. Mbank Dallas, 843 F.2d

172, 176 (5th Cir. 1988) (undue hardship where employees “would be upset”


                                     - 44 -
       Case: 23-10836    Document: 64    Page: 61   Date Filed: 10/12/2023




by the accommodation). That precedent made clear that the employer did

not need to introduce evidence linking harm to morale to business cost. In

Howard, for example, the Court explained that “[t]he fact that [the employer]

incurred no direct money cost from [the proposed accommodation] is not

controlling.” 615 F.2d at 206.

      Before the Supreme Court’s 2023 decision in Groff, courts “consistently

held that it does not constitute discrimination to discipline employees for

making offensive comments in the workplace, even when those comments

are tied to religion.” Rightnour v. Tiffany & Co., 354 F. Supp. 3d 511, 525

(S.D.N.Y. 2019) (citing cases). In particular, courts routinely applied Hardison

to hold that accommodating an employee’s desire to share her religious be-

liefs with her co-workers, when doing so could cause discomfort, constituted

an undue hardship. See Peterson, 358 F.3d at 608 (citing cases).

      In Wilson v. U.S. West Communications, 58 F.3d 1337, 1338 (8th Cir.

1995), for instance, the Eighth Circuit held that Title VII did not require an

employer to allow an employee to wear a “graphic anti-abortion button” in

the workplace. The court explained that “the color photograph of the fetus …

offended [the plaintiff’s] co-workers, many of whom were reminded of cir-

cumstances unrelated to abortion.” Id. at 1341. The court did not require the

                                     - 45 -
       Case: 23-10836    Document: 64    Page: 62   Date Filed: 10/12/2023




employer to produce any evidence of financial cost; the offense to co-work-

ers was sufficient. And in Peterson, the Ninth Circuit reasoned that

accommodating an employee’s desire to hang posters around the office con-

taining anti-gay messages would cause an undue burden because it would

“demean or degrade … members of its workforce.” 358 F.3d at 607-08.

      The EEOC’s Compliance Manual endorsed this precedent:

      Religious expression can create undue hardship if it disrupts the
      work of other employees or constitutes—or threatens to consti-
      tute—unlawful harassment. Conduct that is disruptive can still
      constitute an undue hardship, even if it does not rise to the level
      of unlawful harassment. Since an employer has a duty under Ti-
      tle VII to protect employees from harassment, it would be an
      undue hardship to accommodate expression that is harassing.

EEOC Compliance Manual, § 12-IV(C)(6)(a) (2021). The EEOC thus advised

employers that “it would be an undue hardship for an employer to accom-

modate proselytizing by an employee if the proselytizing had adverse effects

on employee morale or workplace productivity.” Id. § 12-III(D).

      b.    After the verdict and judgment here, Groff changed the undue-

hardship standard. Groff now requires an employer to show that accommo-

dating the plaintiff’s religious practice “would result in substantial increased

costs in relation to the conduct of [the employer’s] particular business.” 143

S. Ct. at 2295. Groff recognized that some “impacts on coworkers” will be


                                     - 46 -
       Case: 23-10836    Document: 64     Page: 63   Date Filed: 10/12/2023




relevant, but only insofar as they “affec[t] the conduct of the business.” Id. at

2296. Thus, “an accommodation’s effect on co-workers” may constitute an

undue hardship, so long as it has “ramifications for the conduct of the em-

ployer’s business.” Id. Groff thus wrought a significant change from this

Court’s precedent, which held that burdening coworkers is an undue hard-

ship that “need not be quantifiable in economic terms.” Weber, 199 F.3d at

274; Howard, 615 F.2d at 206.

      At the same time, Groff did not change the basic principle that, if an

employee’s practice might create a hostile work environment for other em-

ployees, accommodating it would impose an undue hardship, meaning the

practice is not protected. As the Ninth Circuit explained before Groff, “an

employer need not accommodate an employee’s religious beliefs if doing so

would result in discrimination against his co-workers or deprive them of

contractual or other statutory rights.” Peterson, 358 F.3d at 607. Groff made

clear that the proper way to understand Hardison was that accommodating

a request for a Sabbath work exemption would impose an undue hardship

because it would violate other employees’ contractual seniority rights. 143

S. Ct. at 2288-92. Similarly, Title VII itself prohibits the creation of a hostile

work environment, see, e.g., Dediol, 655 F.3d at 440, so an employer cannot

                                      - 47 -
       Case: 23-10836    Document: 64     Page: 64   Date Filed: 10/12/2023




permit, much less accommodate, a religious practice that would violate its

other employees’ statutory right to be free from a hostile work environment.

Otherwise “Title VII would be at war with itself.” Groff, 143 S. Ct. at 2296.

The Court also noted that “a good deal of the EEOC’s guidance in this area

is sensible and will, in all likelihood, be unaffected by our clarifying decision

today,” without questioning the EEOC guidance discussed above (at 46). Id.

And, of course, defending against hostile-work-environment claims plainly

imposes “substantial increased costs” on the employer’s business. Id. at 2295.

      B.    Carter’s religious-belief-based discrimination claim fails as a
            matter of law because she introduced no evidence that
            Southwest fired her because of her religious belief.

      The jury verdict cannot stand as to Carter’s claim that Southwest fired

her for her religious belief, because Carter introduced no evidence, direct or

indirect, Southwest fired her because of her belief. See, e.g., Krystek v. Univer-

sity of Southern Mississippi, 164 F.3d 251, 257 (5th Cir. 1999) (reversing jury

verdict because the “evidence [plaintiff] marshals to his cause” was insuffi-

cient evidence of discrimination).




                                      - 48 -
          Case: 23-10836   Document: 64   Page: 65   Date Filed: 10/12/2023




              1.    Carter didn’t introduce direct evidence of belief-based
                    discrimination.

         Carter introduced no direct evidence that Southwest fired her because

of her belief. Indeed, she didn’t introduce any statements or documents so

much as suggesting that any Southwest employee harbored animus toward

pro-life Christians. Nor did Carter point to anything in Southwest’s neutral

policies, which Southwest fired Carter for violating, that was purportedly

discriminatory. In fact, the Southwest employees involved in Carter’s termi-

nation testified uncontradicted that they, too, were pro-life Christians. Supra

p. 18.

         Carter claims she had direct evidence—that Southwest terminated her

because she sent a graphic video to a coworker, and that Southwest knew

she was Christian. See, e.g., ROA.23-10836.5926-5927. But that isn’t evidence,

much less direct evidence, of belief-based discrimination. It cannot be direct

evidence, because it would require multiple inferences to (wrongly) con-

clude that Southwest discriminated against Carter because of her belief. Supra

pp. 41-42. The jury would need to conclude that Southwest’s termination let-

ter, explaining that Carter was fired for violating various company policies

(as the jointly selected arbitrator found), was really a cover for anti-pro-life-



                                      - 49 -
       Case: 23-10836    Document: 64    Page: 66   Date Filed: 10/12/2023




Christian animus. But that’s a pretext claim, not direct evidence, meaning

that Carter needed to satisfy the McDonnell Douglas standard (which she can-

not do, as discussed below, at 51-53).

      The district court reasoned that Carter had introduced direct evidence

of belief-based discrimination, but it, too, was wrong under the fundamental

principles discussed above. The court said that “the most obvious example”

of direct evidence was that Southwest disciplined Carter for her social media

posts, but did not discipline other Southwest employees who were depicted

online attending the Women’s March. ROA.23-10836.10408. But that evi-

dence likewise requires inferences to get to belief-based discrimination—and,

as explained below (at 51-53), it fails as comparator evidence, too, because

those other Southwest employees weren’t similarly situated and didn’t en-

gage in nearly identical conduct. See Herster, 887 F.3d at 187 (same).

            2.    Indirect evidence cannot sustain the jury verdict, either,
                  because Carter waived a pretext theory and introduced
                  legally insufficient evidence of pretext anyway.

      Any attempt to salvage Carter’s belief-based discrimination claim with

indirect evidence fails as a matter of law under McDonnell Douglas.

      a.    For starters, Carter relied entirely on her assertion that she pre-

sented direct evidence of discrimination to insist that “[t]his is not a pretext


                                     - 50 -
       Case: 23-10836     Document: 64    Page: 67   Date Filed: 10/12/2023




case.” ROA.23-10836.7006. Carter repeatedly waived reliance on evidence of

pretext, and satisfaction of “the McDonnell Douglas indirect proof para-

digm,” as “unnecessary.” ROA.23-10836.10354.

      That waiver is fatal. Having disclaimed reliance on a pretext theory,

Carter cannot now claim that firing her for violating neutral company poli-

cies was actually pretext for belief-based discrimination. See Biziko v. Van

Horne, 981 F.3d 418, 420 & n.1 (5th Cir. 2020). A plaintiff who abandons a

McDonnell Douglas pretext theory because she insists “she presented direct

evidence” cannot later prevail on a pretext theory. Trautman v. Time Warner

Cable Texas, LLC, 756 F. App’x 421, 428 n.5 (5th Cir. 2018); see also, e.g., Ripoll

v. Dobard, 618 F. App’x 188, 190 n.1 (5th Cir. 2015) (plaintiff pressing only

circumstantial evidence “waived any argument that the evidence should be

considered outside the McDonnell Douglas framework and under a direct ev-

idence standard”); Harris v. Public Health Trust of Miami-Dade County, No. 21-

11016, 2023 WL 6451164, at *1 (11th Cir. Oct. 4, 2023) (per curiam) (“Harris

puts all her eggs in the direct-evidence basket” and “has thereby forfeited

any circumstantial-evidence claims that she might have had.”).

      b.    Even if Carter hadn’t waived her reliance on indirect evidence,

her evidence fails to make out a pretext claim as a matter of law because she

                                      - 51 -
       Case: 23-10836    Document: 64      Page: 68   Date Filed: 10/12/2023




produced no valid comparator evidence. See Vaughn, 665 F.3d at 637; supra

p. 43. Carter introduced no evidence that a similarly situated employee was

not fired for nearly identical behavior.

      The closest Carter came was introducing Facebook posts about the

Women’s March by Local 556 and other individuals. See ROA.23-

10836.14719-14746. The only post Carter identified at trial was a post Local

556 made on the union’s Facebook page, depicting at least 50 people and a

sign reading “My body, my choice.” ROA.23-10836.11624, 14722. The post

said, “Women make only 80c for every dollar.” ROA.23-10836.14722. Jessica

Parker, Local 556’s Chair of the Working Women’s Committee, ROA.23-

10836.11612, shared the union’s post on Facebook with the caption “[W]hy

we marched,” ROA.23-10836.12370, 14722.

      Under blackletter law, no reasonable juror could conclude that Parker

was a comparator. Parker’s conduct (a Facebook post about women’s rights,

mentioning an alleged gender-based pay disparity, while not identifiable as

a Southwest employee) was nothing like Carter’s (hostile, abusive messages

to a coworker, plus Facebook posts, while identifiable as a Southwest em-

ployee, with graphic pictures of a bloody fetus). Parker’s post wasn’t “nearly




                                     - 52 -
       Case: 23-10836    Document: 64    Page: 69   Date Filed: 10/12/2023




identical” conduct to Carter’s. Lee v. Kansas City Southern Railway, 574 F.3d

253, 260 (5th Cir. 2009). Parker fails as a comparator for that reason alone.

      But that’s not all. Carter also failed to establish that Parker’s Facebook

page was public or that Parker was identifiable as a Southwest employee—

all crucial features of Carter’s termination. Nor did Carter show that Parker

“h[e]ld the ‘same job’ or h[e]ld the same job responsibilities as [Carter],”

“share[d] the same supervisor,” or “ha[d] a history of ‘violations’ or ‘in-

fringements’ similar to [Carter].” Alkhawaldeh, 851 F.3d at 426.

      Because Carter introduced no direct evidence or indirect evidence that

Southwest fired her for her religious belief, the verdict cannot stand as to

belief-based discrimination.

      C.    A new trial is required on Carter’s religious-practice-based
            discrimination claim.

      The verdict cannot stand as to Carter’s accommodation claim, either.

First, the district court’s undue-hardship instruction was erroneous under

the controlling precedent Southwest relied on to present its undue-hardship

defense. Second, Groff’s change in law requires a new trial so that Southwest

can try the case with evidence responding to the new standard.




                                     - 53 -
       Case: 23-10836   Document: 64    Page: 70   Date Filed: 10/12/2023




            1.    Southwest tried the case under controlling precedent
                  making clear that the mere possibility of adverse effects
                  on employee morale is undue hardship, and the district
                  court erred in failing to instruct the jury on that rule.

      a.    The district court’s undue-hardship instruction was wrong at the

time it was given, and the error was prejudicial, because absent the error, the

jury would almost have certainly found for Southwest. The court told the

jury that it could find undue hardship only if Southwest proved “financial

costs or disruption of business,” ROA.23-10836.13407, and rejected South-

west’s proposed instruction that undue hardship included “burden to other

employees,” ROA.23-10836.13223. But this Court’s precedent did not require

employers to connect harm to morale with financial costs or business dis-

ruption. See Weber, 199 F.3d at 274; Howard, 615 F.2d at 206. All Southwest

had to show was “[t]he mere possibility of an adverse impact on co-workers”

of accommodating Carter’s conduct. Weber, 199 F.3d at 274.

      Southwest met that standard by showing, without contradiction, that

accommodating Carter’s conduct would destroy employee morale. For ex-

ample, a Denver Base Manager supervising 2,400 flight attendants

(including Carter) testified that allowing employees to send graphic videos

to coworkers, especially on such a difficult topic, would be “detrimental to



                                    - 54 -
       Case: 23-10836   Document: 64    Page: 71   Date Filed: 10/12/2023




someone psychologically.” ROA.23-10836.12874. For instance, “[s]ocial me-

dia has a way of affecting people,” the supervisor testified, and “suicide is a

big thing out there.” ROA.23-10836.12874-12875. “Southwest has a great cul-

ture, and our habits have always been to take care of each other and treat

each other with kindness and caring,” the supervisor continued, and accom-

modating Carter’s conduct would destroy this culture: “We would lose

respect for each other, we would lose the family-type feel that Southwest

Airlines has always been a proponent of in how we treat each other. And it

would have an adverse affect on how we work together and how we inter-

acted as a group of employees.” ROA.23-10836.12879-12880.

      Similarly, the Senior Director of Labor Relations testified that accom-

modating Carter’s behavior would hurt the company’s ability to recruit

talent. See ROA.23-10836.12842, 12847. Southwest strives for a “[d]iverse

work group,” she explained, and Southwest’s mission to promote kindness

between employees is “engrained in applicants.” Id. Accommodating

Carter’s practice of sending graphic videos would be “not acceptable” to

Southwest’s corporate culture. ROA.23-10836.12842.

      Other Southwest employees echoed this testimony, underscoring just

how damaging accommodating Carter’s conduct would be to Southwest and

                                    - 55 -
      Case: 23-10836    Document: 64      Page: 72   Date Filed: 10/12/2023




employee morale. Stone explained that she “found [Carter’s] messages to be

incredibly disturbing, … obscene and violent, as well as threatening.”

ROA.23-10836.14774. Another employee testified that after watching the

video, she “felt physically ill,” “had to get up from [her] desk and exit the

building,” and “walk[] around the building several times before [she] came

back in.” ROA.23-10836.12798. A third employee said she felt “horrified by

the images because … it felt like an exploitation of something very personal

and horrific and it made [her] feel queasy” and “ruined [her] day.” ROA.23-

10836.12998. And a senior manager testified that she “hated” the videos,

finding them “very impactful,” “ugly,” and “disgusting. That’s just the tip

of the iceberg …. It made me feel sick.” ROA.23-10836.13035-13036.

     b.    The district court defended its instruction by reasoning that the

instruction “plainly encompasses the totality of Southwest’s business and

did not prevent the jury from considering potential burdens on Carter’s co-

workers.” ROA.23-10836.10403. That’s wrong. This Court’s precedent did

not require disruption-to-business harms or any showing of economic im-

pact from harm to employee morale. See Brener, 671 F.2d at 147. The court’s

instruction erased the morale-based undue-hardship defense as it then ex-

isted under this Court’s precedent.

                                      - 56 -
       Case: 23-10836    Document: 64    Page: 73   Date Filed: 10/12/2023




            2.    Groff’s new test requires a new trial.

      After the verdict and judgment, the Supreme Court held in Groff that

an employer raising an undue-hardship defense must show that accommo-

dating the plaintiff’s religious practice “would result in substantial increased

costs in relation to the conduct of [the employer’s] particular business.” 143

S. Ct. at 2295. Under this Court’s longstanding precedent, Groff requires a

new trial to give Southwest an opportunity to meet that new standard.

      a.    The default rule is that when the controlling precedent changes

after judgment, but before appellate resolution, the Court “will generally re-

mand for a new trial to give parties the benefit of the new law and the

opportunity to present evidence relevant to that new standard.” Deffen-

baugh-Williams, 188 F.3d at 282. That approach tracks the rule that an

intervening decision must be given “full retroactive effect [to] all cases still

open on direct review.” Harper v. Virginia Department of Taxation, 509 U.S. 86,

97 (1993). The touchstone of the rule is “fairness: to prevent injustice to a

party who had no reason to expect a changed rule at the time of trial.” Def-

fenbaugh-Williams, 188 F.3d at 282. Thus, the Court “must consider the law of

this circuit at the time of … trial” to determine whether the parties could

have responded to the new rule at trial. Id.


                                     - 57 -
       Case: 23-10836      Document: 64   Page: 74   Date Filed: 10/12/2023




     Groff therefore requires a new trial. The district court failed to instruct

the jury correctly on the then-controlling undue-hardship standard; had the

jury been correctly instructed, Southwest quite likely would have prevailed.

Southwest had “no reason to expect” Groff during trial, id.—indeed, the Groff

cert petition wasn’t filed until late August 2022, more than a month after the

trial here. Groff Docket (No. 22-174), https://tinyurl.com/3n5snraj. South-

west didn’t introduce evidence connecting harm to morale to costs, because

this Court’s precedent was clear that no business-cost evidence was re-

quired. Supra pp. 44-46.

     On remand, Southwest would introduce evidence showing the busi-

ness costs of accommodating Carter’s religious practice. That evidence

would include testimony from Southwest executives in the Inflight Depart-

ment, the Labor Administration Department, and the People Department

about the risks that flight attendants would refuse to work together, and the

flight cancellations and poor customer experiences that would result and

have resulted in the past. Southwest would also introduce expert testimony

connecting harm to morale with lost revenue. In addition, Southwest would

show that accommodating Carter’s conduct would risk creating a hostile

work environment violating other employees’ Title VII rights and subjecting

                                      - 58 -
       Case: 23-10836     Document: 64    Page: 75   Date Filed: 10/12/2023




Southwest to the substantial costs of defending against Title VII liability. See

supra pp. 47-48. Accommodating Carter’s conduct would put Title VII “at

war with itself.” Groff, 143 S. Ct. at 2296.

      b.    Carter’s and the district court’s reasoning that Southwest cannot

win under Groff because Groff imposes a more difficult standard, or that the

district court’s then-erroneous instructions have become correct under Groff,

lack merit and are incompatible with Deffenbaugh-Williams: had Groff been

the standard, Southwest would have litigated the case differently.

II.   The verdict on Carter’s RLA claim must be reversed because Carter
      produced no evidence that Southwest acted with anti-union
      animus, and she did not engage in protected activity.

      The judgment on Carter’s RLA count must also be reversed. First, be-

cause the RLA is designed to protect union organizing and collective

bargaining, not individual employees’ ability to argue with their unions, the

RLA supplies a cause of action after a union is certified only in “extremely

limited circumstances” in which the carrier acts with “anti-union animus.”

Wightman, 100 F.3d at 234. But Carter introduced no evidence that Southwest

exhibited animus towards Local 556. Instead, Carter’s theory at trial was that

Southwest and Local 556 worked together to take action against union objec-

tors—the opposite of anti-union animus. Carter argued that Southwest fired


                                      - 59 -
       Case: 23-10836     Document: 64    Page: 76   Date Filed: 10/12/2023




her for criticizing Audrey Stone, a union officer and fellow flight attendant.

That expansive theory of RLA liability fails as a matter of law because the

RLA doesn’t give employees a federal cause of action for intra-union dis-

putes. Second, even if the RLA regulated internal union disputes, Carter

didn’t engage in RLA-protected activity because her conduct was abusive

and obscene. The district court’s contrary instruction, that “abusive, insult-

ing, or hyperbolic [conduct] is protected activity,” ROA.23-10836.13399-

13400, was error.

      A.    Carter’s RLA claim fails as a matter of law because Carter
            produced no evidence that Southwest fired her with anti-
            union animus.

            1.      RLA § 152 Third and Fourth provide a very narrow
                    cause of action for post-certification plaintiffs alleging
                    anti-union animus.

      “Congress enacted the RLA to minimize disruptions to railway service

caused by labor disputes,” Brotherhood of Locomotive Engineers v. Union Pacific

Railroad, 31 F.4th 337, 342 (5th Cir. 2022), and soon amended the act to apply

to airlines, 49 Stat. 1189 (1936) (codified at 45 U.S.C. § 181). The RLA relies

on union organizing and collective bargaining, and sets out specific “proce-

dures for resolving ‘major’ and ‘minor’ disputes between carriers and their

employes.” Brotherhood of Locomotive Engineers, 31 F.4th at 342. Major


                                      - 60 -
       Case: 23-10836    Document: 64    Page: 77   Date Filed: 10/12/2023




disputes relate to the formation of collective bargaining agreements or ef-

forts to secure them, whereas minor disputes involve the interpretation or

application of those collective bargaining agreements—for examples, to is-

sues like “rates of pay, rules, or working conditions.” Id. (citation omitted);

see Hawaiian Airlines, Inc. v. Norris, 512 U.S. 246, 252-53 (1994). “[T]he RLA

establishes a mandatory arbitral mechanism” for both kinds of disputes,

Norris, 512 U.S. at 252; for instance, minor disputes “must be arbitrated be-

fore administrative bodies called Adjustment Boards,” Brotherhood of

Locomotive Engineers, 31 F.4th at 342.

      Given the RLA’s reliance on mandatory arbitration, courts have had a

“historically limited role … in enforcing the RLA.” Minjares v. Independent

Ass’n of Continental Pilots, 293 F.3d 895, 899 (5th Cir. 2002). The provisions

Carter invokes, 45 U.S.C. § 152 Third and Fourth, are designed for a limited

purpose: “to protect employees’ designation of bargaining representatives

from employer coercion or intrusion,” National Railroad Passenger Corp. v.

Lamaw, 915 F.2d 43, 50-51 (1st Cir. 1990), “because noninterference with em-

ployees’ chosen representation is a statutory right crucial to the Act’s

functioning,” Brotherhood of Locomotive Engineers, 31 F.4th at 343. In other

words, the statute’s goal is to “allow[] employees to organize or join a labor

                                     - 61 -
       Case: 23-10836    Document: 64    Page: 78   Date Filed: 10/12/2023




organization of their choice.” Johnson v. Express One International, Inc., 944

F.2d 247, 252 (5th Cir. 1991). Section 152 Third provides, in relevant part:

      Representatives, for the purposes of this chapter, shall be desig-
      nated by the respective parties without interference, influence,
      or coercion by either party over the designation of representa-
      tives by the other; and neither party shall in any way interfere
      with, influence, or coerce the other in its choice of representa-
      tives.

Section 152 Fourth provides, in relevant part:

      Employees shall have the right to organize and bargain collec-
      tively through representatives of their own choosing. The
      majority of any craft or class of employees shall have the right to
      determine who shall be the representative of the craft or class for
      the purposes of this chapter. No carrier … shall deny … the right
      of its employees to join, organize, or assist in organizing the labor
      organization of their choice, and it shall be unlawful for any car-
      rier to interfere in any way with the organization of its
      employees … or to influence or coerce employees in an effort to
      induce them to join or remain or not to join or remain members
      of any labor organization.

      Section 152 Third and Fourth “address[] primarily the precertification

rights and freedoms of unorganized employees”—that is, preventing inter-

ference with employees’ choice of union representatives. TWA, 489 U.S. at

440. After a union is certified, the provisions supply a cause of action only

“in extremely limited circumstances,” Wightman, 100 F.3d at 234: “where the

employer’s conduct has been motivated by anti-union animus … or an



                                     - 62 -
       Case: 23-10836    Document: 64    Page: 79   Date Filed: 10/12/2023




attempt to interfere with its employees’ choice of their collective bargaining

representative, … or constitutes discrimination or coercion against that rep-

resentative, … or involves acts of intimidation [which] cannot be remedied

by administrative means,” National Railroad Passenger Corp., 915 F.2d at 51

(quotation marks omitted); see Douglas W. Hall et al., The Railway Labor Act

§ 5-33 (4th ed. 2016) (cause of action in postcertification cases where “the

challenged action was motivated by antiunion animus”).

      A key requirement is that the carrier acted with intent to interfere with

the employees’ choice of representative. A claim fails if the plaintiff “fail[s]

to present adequate evidence that [the carrier’s] actions have been motivated

by anti-union animus or that [the carrier’s] actions were an attempt to inter-

fere with its employees’ choice of their collective bargaining representative.”

Brotherhood of Locomotive Engineers v. Kansas City Southern Railway, 26 F.3d

787, 795 (8th Cir. 1994); see also United Transportation Union v. National Rail-

road Passenger Corp., 588 F.3d 805, 813 (2d Cir. 2009); see 45 U.S.C. § 151 Sixth

(defining “representative”). The plaintiff must show that the carrier “com-

mit[ed] acts of intimidation that c[ould not] be remedied by administrative

means, or commit[ed] a fundamental attack on the collective bargaining




                                     - 63 -
       Case: 23-10836     Document: 64     Page: 80    Date Filed: 10/12/2023




process or ma[de] a direct attempt to destroy a union.” International Brother-

hood of Teamsters v. United Parcel Service, Co., 447 F.3d 491, 502 (6th Cir. 2006).

      By the same token, § 152 Third and Fourth do not confer a cause of ac-

tion based on an employee’s dispute with the union. While an employee

might separately sue her union for violating the duty of fair representation,

see International Brotherhood of Electrical Workers v. Foust, 442 U.S. 42, 47 (1979),

the RLA does not empower employees to sue their employers over internal

union disputes: “An employer has no duty to tell the union how to fulfill its

duty to represent constituents.” Beckington v. American Airlines, Inc., 926 F.3d

595, 605 (9th Cir. 2019). Put another way, § 152 “was not designed to give

minority groups within a union a cause of action against their employer

when they cannot persuade their own union to take actions they deem to be

in the union’s best interest.” Renneisen, 990 F.2d at 924.

             2.    Carter introduced no evidence of anti-union animus or
                   any other evidence of intent to interfere with the union.

      a.     Carter never contended, much less produced evidence, that

Southwest acted with animus toward Local 556 when it fired her, or that

Southwest interfered in her relationship with Local 556. Carter’s only argu-

ment was that Southwest terminated her for expressing opposition to



                                       - 64 -
       Case: 23-10836    Document: 64    Page: 81   Date Filed: 10/12/2023




Audrey Stone as an officer of Local 556. See ROA.23-10836.1023-1024. Carter

testified at trial that her dispute with Local 556 related to the union’s ex-

penditure of dues on the Women’s March. ROA.23-10836.12497.

      Rather than prove any dispute between her employer and her union,

Carter showed only her internal union dispute with a union officer about

spending union dues. Carter might feel that Local 556 didn’t fairly represent

her, but she has no claim against Southwest.

      Endorsing Carter’s theory would transform countless internal union

disputes into a federal cause of action against employers. But the RLA “con-

tains no provision to support that theory of … liability, and [the Court]

cannot invent one absent ‘an expression of congressional direction to do so.’”

Beckington, 926 F.3d at 607. The RLA applies to postcertification disputes “in

extremely limited circumstances,” Wightman, 100 F.3d at 234, precisely be-

cause it is designed to minimize the role of federal courts in labor disputes,

Brotherhood of Locomotive Engineers, 31 F.4th at 342.

      What’s more, the RLA permits “judicial intervention” only when

“there would be no remedy to enforce the [RLA’s] statutory commands.”

TWA, 489 U.S. at 441 (citation omitted). But Carter used an RLA remedy—

the dispute resolution process created by the collective bargaining

                                     - 65 -
       Case: 23-10836    Document: 64    Page: 82   Date Filed: 10/12/2023




agreement negotiated between Local 556 and Southwest, with Local 556 as

her representative—and never alleged that Southwest interfered with that

process or that it was otherwise deficient. To counsel’s knowledge, but for

the district court’s decision, “no federal court has permitted an employee to

pursue a claim under §§ 2 Third and Fourth after the employee has submit-

ted to arbitration under the collective bargaining agreement.” Held v.

American Airlines, Inc., No. 06-cv-4240, 2007 WL 433107, at *6 (N.D. Ill. Jan.

31, 2007).

      b.     Because Carter failed to allege that Southwest fired her with anti-

union animus, the district court should have dismissed Carter’s claim at the

motion-to-dismiss stage. Indeed, it’s unclear why the court allowed the

claim to proceed, because it found that Carter’s allegations “have little, if

anything, to do with the anti-union animus or threats to the collective bar-

gaining process,” ROA.23-10836.859, and that Carter had a “‘remedy to

enforce’ her statutory rights under the RLA,” ROA.23-10836.860 (quoting

TWA, 489 U.S. at 441). Supra pp. 16-17. The court nonetheless submitted the

claim to the jury, erroneously instructing it that “[a]ll union oppositional and

organizational activity is protected under Section 152 Third and Fourth.”

ROA.23-10836.13399. That was wrong, for the reasons just explained. Thus,

                                     - 66 -
       Case: 23-10836    Document: 64     Page: 83   Date Filed: 10/12/2023




even assuming Carter’s RLA claim properly reached the jury, the instruc-

tional error would require a new trial.

      B.    Even if Carter properly reached the jury, a new trial would be
            required because the district court erroneously instructed the
            jury that the RLA protects obscene and abusive activity.

            1.    The RLA does not protect obscene and abusive activity.

      Congress enacted the RLA to protect unionization and collective bar-

gaining, not all forms of employee organizing. The RLA doesn’t protect

activity that is offensive, abusive, or violent, as caselaw interpreting the RLA

and the related National Labor Relations Act makes clear. The NLRA also

doesn’t protect organizing activity that is offensive or abusive, and the RLA

should not be read more broadly than the NLRA.

      Section 152 Fourth protects employees’ rights to “organize and bargain

collectively through representatives of their own choosing.” 45 U.S.C. § 152

Fourth. But some “organizing activity may be ‘so flagrant, violent or ex-

treme’ or so ‘egregious,’ ‘opprobrious,’ ‘offensive,’ ‘obscene’ or ‘wholly

unjustified’ that it loses the protection of the RLA.” Konop v. Hawaiian Air-

lines, Inc., 302 F.3d 868, 883 n.11 (9th Cir. 2002) (quoting Reef Industries v.

NLRB, 952 F.2d 830, 837 & n.19 (5th Cir. 1991)).




                                     - 67 -
        Case: 23-10836   Document: 64    Page: 84   Date Filed: 10/12/2023




       To delineate activity protected under § 152 Fourth, the Supreme Court

has looked to “comparable” caselaw interpreting the closely parallel Section

7 of the National Labor Relations Act, 29 U.S.C. § 157, which also protects

the right join, organize, and assist in joining a labor organization. Brotherhood

of Railroad Trainmen v. Jacksonville Terminal Co., 394 U.S. 369, 385 & n.20

(1969); see TWA, 489 U.S. at 432-34. Decisions interpreting § 157 confirm that

abusive conduct is not protected: “An employee may engage in concerted

activity in such an abusive manner that he loses the protection of § [157].”

NLRB v. City Disposal Systems Inc., 465 U.S. 822, 837 (1984). National Labor

Relations Board (NLRB) decisions agree that “even an employee who is en-

gaged in concerted protected activity can, by opprobrious conduct, lose the

protection of the [NLRA].” Atlantic Steel Co., 245 NLRB 814, 816 (1979). If

anything, the RLA is less protective of employees than the NLRA, because

NLRA § 157, unlike RLA § 152, protects employees’ right “to engage in other

concerted activities for the purpose of … other mutual aid of protection,” 29

U.S.C. § 157, beyond the more limited “right to organize and bargain collec-

tively” that the RLA protects, 45 U.S.C. § 152 Fourth. See Johnson, 944 F.2d at

252.




                                     - 68 -
       Case: 23-10836    Document: 64     Page: 85   Date Filed: 10/12/2023




            2.    The district court’s protected activity instruction was
                  legally wrong and prejudiced Southwest.

      a.    Although the RLA does not protect conduct that is offensive,

abusive, or violent, the district court gave the opposite instruction, telling the

jury that activity “that is intemperate, abusive, insulting, or hyperbolic is

protected.” ROA.23-10836.13400 (emphasis added). That error prejudiced

Southwest. In his closing statement, Carter’s counsel focused on the jury in-

structions and the notion that Carter’s conduct was “protected speech” even

if it was “really offensive.” ROA.23-10836.13439. And on rebuttal, Carter’s

counsel twice returned to the erroneous instruction, claiming the activity “is

protected if it is intemperate, abusive, insulting, or hyperbolic,” ROA.23-

10836.13549, “even if it is … as over the top as you can come up with abu-

sive,” ROA.23-10836.13551-13552. That instruction was wrong, and Carter’s

counsel exploited it to great effect. A new trial is required.

      b.    To justify its instruction, the district court pointed to Linn v.

United Plant Guard Workers of America, Local 114, 383 U.S. 53, 61 (1966), which

cited several NLRB decisions “tolerat[ing] intemperate, abusive and inaccu-

rate statements made by the union during attempts to organize employees.”

But in the five decades since Linn, the NLRB has significantly modified that



                                      - 69 -
       Case: 23-10836   Document: 64    Page: 86   Date Filed: 10/12/2023




NLRA standard. In Atlantic Steel Co., the NLRB ruled that “even an employee

who is engaged in concerted protected activity can, by opprobrious conduct,

lose the protection of the [NLRA].” 245 NLRB 814, 816 (1979). The Board

reasoned that it would not be “consistent with the [NLRA]” to protect union-

related speech presented “in an obscene fashion without provocation and in

a work setting where such conduct was not normally tolerated.” Id. at 817.

In short, the district court relied on overruled NLRB precedent.

      At the same time, the court rejected Southwest’s proposed instruction

because it believed Southwest’s instruction to come from the NLRA, refus-

ing to “judicially shoehorn” the NLRA into the RLA. ROA.23-10836.10413.

In reality, the district court’s instruction came from the NLRA—or, to be more

precise, an outdated and overruled interpretation of the NLRA. In any event,

the district court’s purported refusal to look to the NLRA for guidance on

the RLA was wrong. NLRA caselaw, the Supreme Court has emphasized,

“may be helpful in deciding cases under the RLA,” TWA, 489 U.S. at 432-33,

and it confirms that abusive conduct like Carter’s isn’t protected activity.




                                    - 70 -
        Case: 23-10836   Document: 64    Page: 87   Date Filed: 10/12/2023




III.   The Contempt Order rests on an invalid judgment, exceeds the
       district court’s authority, and violates the First Amendment.

       As Southwest explained in its stay papers, Docs. 102, 113, the Con-

tempt Order cannot stand because it rests on an invalid judgment, see supra

pp. 37-70; it exceeds the district court’s civil-contempt authority; and it vio-

lates the First Amendment.

       A.   The Contempt Order must be vacated because the verdict and
            judgment are invalid.

       Because the verdict and judgment cannot stand, neither can the con-

tempt order. “[C]ivil contempt falls with the order if [the order] turns out to

have been erroneously or wrongfully issued.” Cliett v. Hammonds, 305 F.2d

565, 570 (5th Cir. 1962); accord Massaro v. Palladino, 19 F.4th 197, 216 (2d Cir.

2021) (“judgments of civil contempt fall when the order underlying them is

vacated”). The district court held Southwest in contempt based solely on its

finding that Southwest did not comply with its judgment. Supra pp. 25-27.

Thus, if that judgment is invalid, so is the Contempt Order.

       B.   The Contempt Order is invalid even if the Court affirms the
            underlying judgment.

       Even if the Court affirms the underlying judgment, the Court should

still vacate the Contempt Order for several reasons.




                                     - 71 -
       Case: 23-10836    Document: 64    Page: 88   Date Filed: 10/12/2023




              1.   The Contempt Order is invalid because Southwest
                   substantially complied with the judgment.

      Civil contempt is warranted only when a party “violates an order of a

court requiring in specific and definite language that person do or refrain

from doing an act.” Baddock v. Villard (In re Baum), 606 F.2d 592, 593 (5th Cir.

1979). A court may not hold in contempt a party that substantially complies

with an order. See Whitfield v. Pennington, 832 F.2d 909, 914 (5th Cir. 1987).

      Southwest substantially complied with the judgment requiring South-

west to inform flight attendants that Title VII prohibits discrimination based

on religion. ROA.23-10836.8955 Its email notice, with the judgment and ver-

dict form attached, informed employees that the court had entered judgment

against Southwest in a case alleging religious discrimination. ROA.23-

10836.9442.

      The district court seized on the difference between “may not” and

“does not.” ROA.23-10836.10648-10653. But the notice as a whole, together

with the attached judgment and verdict form, substantially complied with

the judgment, communicating that federal law does not allow Southwest to

discriminate against flight attendants. Taken in context, the “may

not”/“does not” distinction does not materially change the email’s message.



                                     - 72 -
       Case: 23-10836    Document: 64     Page: 89   Date Filed: 10/12/2023




      If the district court were right that the notice undercut the court’s judg-

ment, one would expect at least some flight attendants to be confused by the

apparent contradiction between the email and the attached judgment and

verdict form. But not one of the approximately 15,000 flight attendants who

received the notice reported any confusion.

            2.    The district court exceeded its civil-contempt power by
                  ordering religious-liberty training.

      a.    A court’s civil-contempt power “is not a broad reservoir of

power, ready at an imperial hand”—instead, it is “a limited source; an im-

plied power squeezed from the need to make the court function.” In re U.S.

Bureau of Prisons, 918 F.3d 431, 438 (5th Cir. 2019).

      Civil-contempt sanctions are permissible only to secure a party’s com-

pliance with a court order or to compensate for losses from noncompliance.

American Airlines, Inc. v. Allied Pilots Ass’n, 228 F.3d 574, 585 (5th Cir. 2000).

The only permissible beneficiary of civil-contempt sanctions is the opposing

party. Norman Bridge Drug Co. v. Banner, 529 F.2d 822, 827 (5th Cir. 1976). A

civil contempt sanction cannot be used to “punish defiance of the court and

deter similar actions,” because punishment and deterrence are hallmarks of

criminal sanctions. In re Stewart, 571 F.2d 958, 964 (5th Cir. 1978). Unlike



                                      - 73 -
       Case: 23-10836     Document: 64     Page: 90   Date Filed: 10/12/2023




criminal-contempt proceedings, “[c]ivil contempt proceedings are remedial

and coercive, not punitive, in their nature, they look only to the future. They

are not instituted as punishment for past offenses, but to compel” obedience

with the court’s orders. Boylan v. Detrio, 187 F.2d 375, 378 (5th Cir. 1951).

      Thus, a “sanction counts as compensatory only if it is ‘calibrate[d] to

[the] damages caused by’ the bad-faith acts on which it is based.” Goodyear

Tire & Rubber Co. v. Haeger, 581 U.S. 101, 108 (2017). In other words, because

civil contempt gives a court only the “least possible power adequate to the

end proposed,” In re Oliver, 333 U.S. 257, 274 (1948), a court exceeds its civil-

contempt power when “a lesser sanction” would do, Natural Gas Pipeline Co.

of America v. Energy Gathering, Inc., 86 F.3d 464, 467 (5th Cir. 1996). Thus,

when the justifications for contempt reach beyond compliance and compen-

sation, a court must turn to criminal contempt, triggering additional

protections. See, e.g., United States v. Rizzo, 539 F.2d 458, 463-65 (5th Cir. 1976)

(specific notice required); Fed. R. Crim. P. 42.

      b.    The district court abused its civil-contempt power by imposing

religious-liberty training, which neither secures compliance with an order

nor compensates Carter for any noncompliance and is not the least-restric-

tive means to achieve those ends. The court held Southwest in contempt

                                       - 74 -
       Case: 23-10836   Document: 64    Page: 91   Date Filed: 10/12/2023




because it thought that the “does not discriminate” email did not comply

with its judgment and the IIOTG Memo undermined its judgment. ROA.23-

10836.10648-10653. Thus, the only permissible sanctions were requiring a

new “may not discriminate” email and awarding Carter contempt-related

attorneys’ fees, because those are the least-restrictive means of ensuring

compliance with the judgment and compensating Carter. Training will do

nothing to compel compliance with the judgment and will not benefit Carter,

particularly because none of the three in-house attorneys ordered to attend

training was involved in the decision to terminate Carter, supervises Carter,

or holds any animus toward Carter, her belief, or any other religion. Indeed,

training cannot constitutionally tell Southwest what views to hold, infra

pp. 76-78, and isn’t required to secure a new email or prevent contradiction

of the court’s verbatim notice anyway. Put simply, the district court couldn’t

articulate what permissible purpose training serves.

     Even if training were necessary, religious-liberty training is an abuse of

discretion. “Religious liberty” encompasses topics, like the First Amend-

ment and Religious Freedom Restoration Act, that have nothing to do with

this case and cannot possibly be the least-restrictive means of securing com-

pliance with a Title VII judgment. The district court’s defense of the ADF as

                                    - 75 -
       Case: 23-10836     Document: 64     Page: 92   Date Filed: 10/12/2023




mandatory trainer—that the ADF has won several non–Title VII “Supreme

Court cases in recent years,” and the court doesn’t have “knowledge of what

will be discussed in Southwest’s training,” Stay Op. 16-17—proves the point.

The court didn’t order Title VII training from a neutral trainer (like the Prac-

tising Law Institute). Instead, the court ordered Southwest to attend

“religious-liberty” reeducation conducted at the ADF’s unguided discretion.

Rather than exercise “the least possible power adequate to the end pro-

posed” by specifying exactly what training is required and why, Oliver, 333

U.S. at 274, the district court appears to have delegated that Article III civil-

contempt authority to an ideological advocacy group.

            3.     The contempt order violates Southwest’s First
                   Amendment rights.

      a.    The First Amendment guarantees the rights to speak and not to

speak. See Wooley v. Maynard, 430 U.S. 705, 714 (1977). Content-based re-

strictions on a corporation’s right to speak are subject to strict scrutiny,

because “governments ‘have no power to restrict expression because of its

message, its ideas, its subject matter, or its content.’” National Institute of Fam-

ily & Life Advocates v. Becerra, 138 S. Ct. 2361, 2371 (2018). A restriction fails

strict scrutiny unless it is “narrowly tailored” to serve compelling interests.



                                       - 76 -
       Case: 23-10836    Document: 64    Page: 93   Date Filed: 10/12/2023




Id. Similarly, an order limiting future speech activities is presumptively un-

constitutional as a prior restraint. See Bantam Books, Inc. v. Sullivan, 372 U.S.

58, 70 (1963).

      b.    The Contempt Order violates Southwest’s First Amendment

rights by punishing Southwest for speaking on a matter of fundamental im-

portance: its disagreement with, and right to appeal, a decision it believes is

wrong in a developing area of law. See ROA.23-10836.9444; Groff, 143 S. Ct.

2279. The order justifies training on the ground that the IIOTG Memo under-

mined the required notice to flight attendants. But the memo expressly

promises to “implement the judgment.” ROA.23-10836.9444. The memo also

expresses Southwest’s view of Carter’s conduct, the jury’s verdict, and the

court’s holdings while vowing to advance that view on appeal. Supra p. 26.

The First Amendment protects Southwest’s expression of its view, especially

about legal issues. See First National Bank of Boston v. Bellotti, 435 U.S. 765,

778-81 (1978).

      In requiring religious-liberty training and threatening future sanc-

tions, the district court announced a “continued partnership” for

superintending Southwest’s speech. ROA.23-10836.10644. That content-

based prior restraint on Southwest’s speech is doubly unconstitutional as a

                                     - 77 -
       Case: 23-10836    Document: 64    Page: 94   Date Filed: 10/12/2023




gag order based on the content of prior speech. See In re Murphy-Brown, LLC,

907 F.3d 788, 796-97 (4th Cir. 2018). Compounding the problem, the district

court’s ongoing prohibition of Southwest’s speech is vague, chilling South-

west’s First Amendment right to speak. See FCC v. Fox Television Stations,

Inc., 567 U.S. 239, 253-54 (2012). In the district court’s view, Southwest should

speak only after it is “[a]rmed with a better understanding of the legal area

at issue.” ROA.23-10836.10666. But it is appellate review, not the ADF’s reli-

gious-liberty training, that will clarify what the law requires.

      Even then, while it must comply with Title VII, Southwest is constitu-

tionally entitled to hold and express the view that it did not discriminate

against Carter and that the courts have misinterpreted Title VII. As South-

west argued (ROA.23-10836.10701-10702), compelling its attorneys to listen

to an ideological group’s opposing views presents yet another First Amend-

ment problem. See C.M. Corbin, The First Amendment Right Against Compelled

Listening, 89 B.U. L. Rev. 939 (2009). Despite these grave concerns, the district

court kept the prior restraint unconstitutionally vague, leaving Southwest to

“guess at [the] contours” of the prohibition. Gentile v. State Bar of Nevada, 501

U.S. 1030, 1048 (1991). The court even admitted that it had no idea what the




                                     - 78 -
       Case: 23-10836     Document: 64   Page: 95   Date Filed: 10/12/2023




ADF would tell Southwest, Stay Op. 16, proving that the sanction is vague

and the compelled listening unjustified.

                               CONCLUSION

      The Court should reverse the judgment and verdict and the Contempt

Order with instructions to enter judgment in Southwest’s favor on Carter’s

RLA claim and her belief-based claim under Title VII, and for a new trial on

Carter’s practice-based claim under Title VII.



Dated: October 12, 2023                  Respectfully submitted,

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                                     - 79 -
      Case: 23-10836      Document: 64   Page: 96   Date Filed: 10/12/2023




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                                     - 80 -
      Case: 23-10836      Document: 64   Page: 97   Date Filed: 10/12/2023




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                                     - 81 -
